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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

MARCIA G. FLEMING, CASEY                     CIVIL ACTION FILE NO:
FREEMAN, DAVID GUYON,                        1:21-cv-05343-ELR
ANTHONY LOSCALZO, PATRICK
ROSEBERRY, and JULIO
SAMANIEGO individually, on behalf of
the Rollins, Inc. 401(k) Savings Plan,
and on behalf of all similarly situated
participants and beneficiaries of the
Plan,
     Plaintiffs,
v.
ROLLINS, INC.; THE
ADMINISTRATIVE COMMITTEE OF
THE ROLLINS, INC. 401(k) SAVINGS
PLAN, BOTH INDIVIDUALLY AND
AS THE DE FACTO INVESTMENT
COMMITTEE OF THE ROLLINS, IC.
401(K) SAVINGS PLAN; EMPOWER
RETIREMENT, LLC F/K/A
PRUDENTIAL INSURANCE AND
ANNUITY COMPANY; PRUDENTIAL
BANK & TRUST, FBS, AS DIRECTED
TRUSTEE OF THE ROLLINS, INC.
401(K) PLAN TRUST; ALLIANT
INSURANCE SERVICES, INC.;
ALLIANT RETIREMENT SERVICES,
LLC; LPL FINANCIAL LLC; PAUL E.
NORTHEN, JOHN WILSON, JERRY
GAHLHOFF, JAMES BENTON and A.
KEITH PAYNE, and JOHN AND JANE
DOES 1-10, as members of the
Administrative Committee,

     Defendants.

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      COME NOW Plaintiffs Marcia G. Fleming, Casey Freeman, David Guyon,

Anthony Loscalzo, Patrick Roseberry, and Julio Samaniego (collectively

“Plaintiffs”), by and through the undersigned counsel, and individually, on behalf of

the Rollins, Inc. 401(K) Savings Plan (the “Plan”), and on behalf of all similarly

situated participants and beneficiaries of the Plan, bring this action for relief under

the Employee Retirement Income Security Act, 29 U.S.C. § 1001, et. al (“ERISA”)

against Defendants Rollins, Inc.; the Plan’s Administrative Committee, both

individually and as the de facto Investment Committee of the Plan and the

Administrative Committee’s members, Paul E. Northen, John Wilson, Jerry

Gahlhoff, James Benton and A. Keith Payne, and John and Jane Does 1-10

(collectively, the “Administrative Committee”); Empower Retirement, LLC f/k/a

Prudential Insurance and Annuity Company (“Prudential”); Prudential Bank &

Trust, FSB, as directed trustee of the Rollins, Inc. 401(k) Plan Trust (the “Trustee”);

and Alliant Insurance Services, LLC (“AIS”), Alliant Retirement Services, Inc

(“ARS”), and LPL Financial LLC (“LPL”) (collectively, the “Defendant Investment

Fiduciaries”) (collectively, “Defendants”). Plaintiffs filed this lawsuit on December

31, 2021. Defendants filed their Motions to Dismiss on March 28, 2022. Plaintiffs

are filing this Amended Complaint as a matter of course under Fed. R. Civ. P.

15(a)(1)(B) within 21 days of the responsive pleading.




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                                I.     OVERVIEW

      1.     At all relevant times during the Class Period defined below, Plaintiffs

were participants in an ERISA defined contribution retirement plan sponsored by

Rollins (the “Plan”).     As of December 31, 2020, the Plan had assets of

$1,050,698,968 and had 14,109 participants.

      2.     “[I]n a defined contribution plan, … the retirees’ benefits are typically

tied to the value of their accounts,” Thole v. U.S. Bank, 140 S. Ct. 1616, 1618 (2020),

and “[e]xpenses, such as management or administrative fees, can sometimes

significantly reduce the value of an account in a defined-contribution plan.” Tibble

v. Edison Int’l, 575 U.S. 523, 525 (2015). Therefore, “benefits can turn on the plan

fiduciaries’ particular benefit decisions.” Thole, 140 S. Ct. at 1618.

      3.     Indeed, Plan participants bear not only the investment risk of Plan

administrators’ decisions but also the costs of any excessive investment and

administrative expenses as well.

      4.     For financial services companies like Prudential and the Defendant

Investment Fiduciaries, the potential for imprudent and disloyal conduct is

especially high, because a Plan’s fiduciaries are in a position to benefit the company

through the selection of the Plan’s investments by, for example, filling the plan with

proprietary and other investment products that an objective and prudent fiduciary

would not choose.


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      5.     The effect of such Plan fiduciaries’ imprudence and disloyalty on

workers can be severe. According to one study, the average working household with

a defined contribution plan will lose $154,794.00 to fees and lost returns over a 40-

year career. See Melanie Hicken, Your employer may cost you $100k in retirement

savings, CNN Money (June 1, 2014), available at http://money.cnn.com

/2013/03/27/retirement/401k-fees.

      6.     A fiduciary’s mismanagement of plan assets leading to an investment

lineup filled with poor-performing investments and excessive fees can force a

participant to work an extra five to six years to compensate for the excess fees that

were paid.

      7.     To safeguard Plan participants and beneficiaries, ERISA imposes strict

fiduciary duties of loyalty and prudence upon employers and other plan fiduciaries.

29 U.S.C. § 1104(a)(1). These twin fiduciary duties are “the highest known to the

law.” Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 333 (3d Cir. 2019). Accord

Restatement (Second) of Trusts § 2 cmt. b (1959).

      8.     In exercising those duties, ERISA fiduciaries are held to the standard

of financial experts in the field of investment management. Fiduciaries must

prudently select initial investment options they make available to plan participants,

then must continue to monitor the prudence of each investment option and must

remove imprudent investment options within a reasonable time.


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      9.     Defined contribution plans with billions of dollars in assets, like the

Plan here -- -which are among the largest 0.06% of defined contribution plans in the

United States -- have tremendous bargaining power in the marketplace for retirement

plan services and can demand high-quality administrative and investment

management services at low cost.

      10.    Plan fiduciaries must limit the Plan’s expenses to a reasonable amount,

to ensure that each fund in the Plan is a prudent option for participants to invest their

retirement savings and priced at a reasonable level for the size of the Plan, and to

analyze the costs and benefits of alternatives for the Plan’s administrative and

investment structure. This Plan fiduciaries must do for the exclusive benefit of

participants, and not for the benefit of conflicted third parties.

      11.    Instead of using the Plan’s bargaining power to reduce expenses and

exercising independent judgment to determine what investments to include in the

Plan, Rollins and the Administrative Committee (collectively, the “Named Plan

Fiduciaries”) squandered that leverage by allowing the Plan’s conflicted third party

service providers – Prudential and Defendant Investment Fiduciaries – to dictate the

Plan’s investment lineup, to link its recordkeeping services to the placement of

investment products which paid high revenue sharing fees and illicit kickbacks, and

to collect unlimited asset-based compensation from such products.

      12.     ERISA required the Named Plan Fiduciaries to manage the Plan


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prudently and to not waste Plan participants’ money. This they did not do. Indeed,

for the period from January 1, 2009 to the present (the “Class Period”), Named Plan

Fiduciaries breached their fiduciary duties by: (a) failing to prudently select and

monitor the Plan’s investment options, and failing to remove imprudent investments;

(b) failing to prudently monitor and prudently manage the Plan’s administrative

expenses; (c) causing the Plan to enter into one or more prohibited transactions with

a party-in-interest to the Plan; (d) failing to monitor their co-fiduciaries; (e)

overpopulating the Plan with overpriced and poorly performing mutual funds,

including a proprietary fund of Prudential (the Prudential Guaranteed Fund); (f)

directing millions of dollars of Plan assets to pay conflicted Plan service providers

excessive and unreasonable compensation which, in fact, was approximately four

times more than these service providers received for the same services rendered to

similarly sized plans; (g) secretly charging participants for these excessive fees; (h)

affirmatively misleading Plan participants and/or intentionally concealing from

them the information they needed to make informed investment decisions; (i)

affirmatively and repeatedly making misrepresentations to participants and

beneficiaries about the security of their investments, the reasonableness of the fees

and expenses they and the Plan were being charged, and the competence of the

service providers they selected and thereafter retained; and (j) hiding these facts and

the conflicts of interests all Defendants suffered from the Department of Labor


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(“DOL”), Internal Revenue Service (“IRS”), and Plan participants and beneficiaries.

      13.    Plaintiffs are not second-guessing Named Plan Fiduciaries’ investment

decisions in hindsight. The information that Named Plan Fiduciaries needed to make

prudent decisions regarding the selection and retention of investment managers

(including Defendant Investment Fiduciaries), and the selection and retention of

investment funds, was readily available to them when they made those decisions.

      14.    Each dollar that Named Plan Fiduciaries wasted was one less dollar in

participants’ accounts, dollars that would have generated returns and built

participants’ retirement savings. Those lost returns compound over time so each

wasted dollar matters greatly. In fact, the United States Department of Labor

(“DOL”), which oversees ERISA, estimates that, over 35 years, a 1% increase in

fees and expenses may reduce a participant’s account balance by 28%. U.S. DOL,

EBSA, A Look at 401(k) Plan Fees, pp. 1-2 (Aug. 2013), available at

https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-

center/publications/a-look-at-401k-plan-fees.pdf.

      15.    The prohibited transactions in which Defendants engaged and/or

caused the Plan to engage during the Class Period, and the Named Plan Fiduciaries’

breaches of duty during the Class Period, both of which are summarized above and

set forth in more detail below, alienated the trust and dissipated millions of dollars

in Plan assets and, in doing so, proximately caused loss to the Plan and Plan


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participants.

      16.       Named Plan Fiduciaries could have easily stopped these abuses at any

time during the Class Period by replacing the unreasonably high-fee,

underperforming funds in the Plan’s investment menu with more reliable, lower-fee

funds offered by numerous mutual fund families and investment managers which,

unlike Defendant Investment Fiduciaries here, were untainted by self-interest.

      17.       Named Plan Fiduciaries’ actions during the Class Period were contrary

to actions of a reasonable fiduciary, cost the Plan and its participants millions of

dollars, and ran directly counter to ERISA’s fiduciary duties of prudence and loyalty,

undermining the purpose of 401(k) plans – i.e., to maximize participants’ retirement

savings. Defendants are liable to the Plan and participants for these losses, which

continue to accrue. That on-going loss is significant.

      18.       Through this action, Plaintiffs seek equitable relief under ERISA,

including but not limited to a surcharge; the disgorgement of improper profits

realized by Named Plan Fiduciaries as a result of their breaches of duty; the

restoration of losses to them, the Class and the Plan; and an award of reasonable

attorney fees under ERISA § 502(g).

                        II.   JURISDICTION AND VENUE

      19.       This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 and 29 U.S.C. § 1132(e)(1).


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      20.      This Court has personal jurisdiction over Defendants because, among

other reasons, Defendants transact business in and have significant contacts with this

District and ERISA provides for nationwide service of process pursuant to ERISA §

502(e)(2), 29 U.S.C. § 1132(e)(2).

      21.      Venue is proper in this District pursuant to ERISA § 502(e)(2), 29

U.S.C. § 1132(e)(2), because the Plan is and, at the relevant times, was administered

in this District, the breaches and violations giving rise to Plaintiffs’ claims occurred

in this District, and one or more of the Defendants may be found in this District.

      22.     Venue is also proper under 28 U.S.C. §§ 1391(b) and (c) because a

substantial part of the events or omissions giving rise to the claims occurred in this

District, and one or more of the Defendants reside in this District.

            III.   THE PLAN, TRUST, PARTIES, AND STANDING

      A.     The Plan and Plan Sponsor, Trust, and Trustee

      23.    Rollins, a closely held, publicly traded company which provides

residential and commercial pest control services through more than 900 subsidiaries

and franchises worldwide, and which generates more than $1.8 billion in annual

revenue nationwide, sponsors and maintains the Plan on behalf of its eligible

employees. A copy of the Plan is attached as Exhibit 1.

      24.    As the sponsor of the Plan per ERISA § 3(16)(B), 29 U.S.C. §

1002(16)(B), Rollins, a resident of this District, is and, at all relevant times during


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the Class Period, was a party in interest under ERISA § 3(14)(C), 29 U.S.C. §

1002(14)(C). Rollins also was (and remains) a Plan fiduciary under ERISA §

3(21)(A), 29 U.S.C. § 1002(2)(A), to the extent that it appointed members of the

Administrative Committee and Investment Managers for the Plan; selected and

monitored Prudential, Defendant Investment Fiduciaries, and the investment funds

under the Plan; and otherwise exercised discretion or control over the administration

and management of the Plan and Plan assets.

      25.    Indeed, Rollins, under section 13.1 of the Plan, had the duty:

      (1)    To appoint the Trustee, the Administrative Committee and the
             Investment Committee and to monitor each of their
             performances;

      (2)    To communicate such information to the Trustee, the
             Administrative Committee and/or the Investment Committee as
             each needs for the proper performance of its duties;

      (3)    To provide channels and mechanisms through which the
             Administrative Committee and/or the Trustee can communicate
             with Participants and Beneficiaries; and

      ***

      [to] perform such duties as are imposed by law or by regulation[.]

      26.    The Plan, which is administered in this District, is a defined

contribution, individual account, employee benefit plan under 29 U.S.C. §

1002(2)(A) and § 1002(34). The Plan was established and maintained under a

written document in accordance with 29 U.S.C. § 1102(a). The stated purpose of


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the Plan, which was adopted in 1983 and restated on January 1, 2009, is to recognize

the contributions made to Rollins and its participating affiliates by employees and to

reward those contributions by providing eligible employees with an opportunity to

accumulate savings for their future security.

      27.    During the Class Period, per section 7.3 of the Plan:

      [e]ach participant or Beneficiary generally may direct the manner in
      which his Accounts and Contributions will be invested in and among
      the Investment Funds described in Section 7.2. Participant investment
      directions will be made in accordance with the following terms:

      (a)    Investment of Contributions. Except as otherwise provided in
             this Section, each Participant may elect, on a form provided by
             the Administrative Committee, … the percentage of his future
             Contributions that will be invested in each Investment Fund….
             In the event a Participant never makes an investment election or
             makes an incomplete or insufficient election in some manner, the
             Trustee, based on authorized directions from the Administrative
             Committee, will direct the investment of the Participant’s future
             Contributions.

(Id.) (Emphasis added.)

      28.    At all relevant times, Plan assets were held in a trust (the “Trust”)

pursuant to a Trust Agreement executed by Rollins and the Trustee. A copy of the

Trust Agreement is attached as Exhibit 2. The Trust Agreement states that, in the

event of conflict between the Plan and the Trust Agreement, the terms of the Trust

Agreement controlled. (See id., § 12(g).)

      29.    At all relevant times, Prudential Bank & Trust, FSB was the Trustee

appointed by the Administrative Committee and, in this capacity, and to the extent

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that it engaged in transactions with the Plan and Named Plan Fiduciaries, and

received direct and indirect compensation from the Plan, was and is a party in interest

under ERISA § 3(14)(B), 29 U.S.C. § 1002(14)(B), whose services and

compensation Rollins and the Administrative Committee had a duty to monitor.

Moreover, to the extent it exercised discretion or control over the administration and

management of the Plan and Plan assets, Prudential also was a fiduciary under

ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).

      30.    During the Class Period, the Trust was required to hold only those

assets accepted by the Trustee and which are specified on Exhibit A to the Trust

Agreement. (See the Trust Agreement, Exh. 2, § 1(b).) Exhibit A to the Trust

Agreement specified four categories of Plan assets: (a) a group annuity contract

“issued by an affiliate of the Trustee;” (b) “Plan assets invested in investment options

offered through an affiliate of the Trustee;” (c) promissory notes given in connection

with loans to participants and beneficiaries; and (d) Rollins stock. (Emphasis

supplied.) Upon information and belief, the only affiliate of the Trustee that

provided services to the Plan during the Class Period was Prudential.

      31.    Section 7.2(a) of the Plan required the Trustee,

      [i]n accordance with instructions from the Investment Committee and
      the terms of the Plan and the Trust, … [to] establish and maintain
      Investment Funds for the investment of the assets of the Trust Fund.
      Such Investment funds will be established and modified from time to
      time without necessity of amendment to the plan and will have the
      investment objectives prescribed by the Investment Committee….

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      B.     The Named Plaintiffs

      32.    Plaintiff Marcia G. Fleming (“Fleming”), as a former employee of

Rollins who is or may become eligible to receive additional benefits under the Plan

as a result of Defendants’ breaches and ERISA violations, is a participant as defined

by ERISA § 3(7), 29 U.S.C. § 1002(7). At relevant times during the Class Period,

Fleming, a resident of this District, used GoalMaker and, therefore, was invested in

one or more of the imprudent funds at issue, and paid excessive fees charged to her

individual account.

      33.    Plaintiff Casey Freeman (“Freeman”), as a former employee of Rollins

who is or may become eligible to receive additional benefits under the Plan, is a

participant as defined by ERISA § 3(7), 29 U.S.C. § 1002(7). Freeman is a resident

of this District. At relevant times during the Class Period, Freeman used GoalMaker

and, therefore, was invested in one or more of the imprudent funds at issue, and paid

excessive fees charged to her individual account.

      34.    Plaintiff David Guyon (“Guyon”), as a former employee of Rollins who

is or may become eligible to receive additional benefits under the Plan, is a

participant as defined by ERISA § 3(7), 29 U.S.C. § 1002(7). Guyon is a resident of

this District. At relevant times during the Class Period, Guyon, upon information

and belief, was invested in one of or more of the imprudent funds at issue and paid

excessive fees charged to his individual account.


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      35.    Plaintiff Anthony Loscalzo (“Loscalzo”), as a former employee of

Rollins who is or may become eligible to receive additional benefits under the Plan,

is a participant as defined by ERISA § 3(7), 29 U.S.C. § 1002(7). Loscalzo is a

resident of this District. At relevant times during the Class Period, Loscalzo was

invested in two of the imprudent funds at issue (American Funds Capital World

Growth and American Funds EuroPacific) and paid excessive fees charged to his

individual account.

      36.    Plaintiff Patrick Roseberry (“Roseberry”), as a former employee of

Rollins who is or may become eligible to receive additional benefits under the Plan,

is a participant as defined by ERISA § 3(7), 29 U.S.C. § 1002(7). Roseberry is a

resident of this District. At relevant times during the Class Period, Roseberry was

invested in one or more of the imprudent funds at issue (Vanguard Windsor II,

Franklin Growth, and Victory Sycamore) and paid excessive fees charged to his

individual account.

      37.    Plaintiff Julio Samaniego, a resident of this District and as a former

employee of Rollins who is or may become eligible to receive additional benefits

under the Plan, is a participant as defined by ERISA § 3(7), 29 U.S.C. § 1002(7). At

relevant times during the Class Period, Samaniego, upon information and belief, was

charged grossly excessive fees for administrative services rendered to the Plan.

      38.    ERISA §§ 502(a)(2) and (3), 29 U.S.C. §§ 1132(a)(2) and (3), confer


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standing on a “participant” to bring claims for ERISA violations, including but not

limited to claims under ERISA § 409(a), 29 U.S.C. § 1109(a), for breach of fiduciary

duty.

        39.      At all relevant times during the Class Period, each of Plaintiffs was a

participant in the Plan as defined by ERISA § 3(7), 29 U.S.C. § 1002(7). Therefore,

each of Plaintiffs have statutory standing to bring claims under ERISA §§ 502(a)(2)

and (3), 29 U.S.C. §§ 1132(a)(2), (3).

        40.      Claims under ERISA §§ 409(a) and 502(a)(2), 29 U.S.C. §§ 1109(a)

and 1132(a)(2), are brought in a representative capacity on behalf of the Plan. As

explained in detail below, the Plan suffered millions of dollars in losses traceable to

Defendants’ fiduciary breaches and remain exposed to harm and continued future

losses, and those injuries may be redressed by a judgment of this Court in favor of

Plaintiffs.

        41.      Each of Plaintiffs also has constitutional standing under ERISA §

502(a)(3), 29 U.S.C. § 1132(a)(3) because each Plaintiff personally suffered

concrete and particularized injuries in many ways, including but not limited to the

following:

        a. The named Plaintiffs and all Plan participants suffered financial harm as a

              result of the imprudent or excessive fee options in the Plan because Named

              Plan Fiduciaries’ inclusion of those options deprived participants of the


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   opportunity to grow their retirement savings by investing in prudent

   options with reasonable fees, which would have been available in the Plan

   if Named Plan Fiduciaries had satisfied their fiduciary obligations. All

   participants continue to be harmed by the ongoing inclusion of these

   imprudent and excessive cost options and payment of excessive

   recordkeeping fees.

b. The named Plaintiffs and all participants in the Plans were financially

   harmed by Prudential’s and Named Plan Fiduciaries’ improper bundling

   of some of the Plan’s investment products, improperly allowing Prudential

   and Defendant Investment Fiduciaries to require inclusion of imprudent

   and excessively high-fee investment products in the Plan.

c. The named Plaintiffs and all participants in the Plans were financially

   harmed by Prudential’s and Named Plan Fiduciaries’ intentional

   concealment of illicit kickbacks and excessively high-fee and imprudent

   investment options from them.

d. The named Plaintiffs and all participants in the Plans were financially

   harmed by Named Plan Fiduciaries’ affirmative misrepresentations that

   their investments were secure, that Defendant Investment Fiduciaries

   were competent to provide services to them and the Plan, and that

   participants were not being unreasonably and unnecessarily charged for


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            fees.

      42.      Each of the Plaintiffs, during the proposed class period, invested in one

or more of the investments that paid hidden, unreasonable, and unnecessary revenue

sharing to Prudential, the Trustee and Defendant Investment Fiduciaries, and that

were selected and retained in the Plan by Named Plan Fiduciaries when past poor

performance and their excessive fee structure rendered them imprudent investments.

      43.      Each of Plaintiffs and participants lost significant retirement savings

through their investments in these imprudent funds, through other investments and

the fees charged on their investments in those funds, and by paying a portion of the

Plan’s excessive administrative and recordkeeping fees, none of which would have

been incurred had Defendants discharged their fiduciary duties to the Plan.

      44.      Thus, Plaintiffs have Article III standing to bring these claims.

      C.       The Administrative Committee

      45.      Defendant, the Administrative Committee of the Plan (the

“Administrative Committee”), a resident of this District, at all relevant times, was

and remains the named fiduciary of the Plan, the Plan administrator under ERISA §

3(16), 29 U.S.C. § 1002(16), a party in interest under ERISA § 3(14)(A), 29 U.S.C.

§ 1002(14)(A), the de facto Investment Committee of the Plan, and also a Plan

fiduciary under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), to the extent that it

selected and monitored Prudential and the Trustee, Defendant Investment


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Fiduciaries, and investment Funds under the Plan, and to the extent it otherwise

exercised discretion or control over the administration and management of the Plan

and Plan assets.

      46.      Defendants Paul E. Northen, John Wilson, Jerry Gahlhoff, James

Benton, A. Keith Payne, and John and Jane Does 1-10, as members of the

Administrative Committee, are each a party in interest under ERISA § 3(14)(A), 29

U.S.C. § 1002(14)(A), and fiduciaries of the Plan under ERISA § 3(21)(A), 29

U.S.C. § 1002(21)(A), because they were authorized to act on behalf of the

Administrative Committee and, in this capacity, exercised discretionary authority or

discretionary control respecting the administration or management of the Plan, or

exercised authority or control respecting the management or disposition of the Plan’s

assets.     Upon information and belief, one or more of the members of the

Administrative Committee is a resident of this District.

      47.      As Plan Administrator, the Administrative Committee had “complete

control of the administration of the Plan hereunder, with all powers necessary to

enable it properly to carry out its duties as set forth in the Plan and the Trust

Agreement.” (See the Plan, Exh. 1, § 12.3.) The Administrative Committee, at all

times during the Class Period, also had

      the power to delegate specific fiduciary… responsibilities (other than
      Trustee responsibilities) … to other persons all of whom will serve at
      the pleasure of the Administrative Committee. References in the Plan
      to the Administrative Committee is deemed to include any person

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       authorized to act on its behalf pursuant to this Section.

(Id., § 12.4.)

       48.       During the Class Period, the Administrative Committee, also was

required to “establish and maintain, on behalf of each participant and beneficiary an

Account” and, as such, had the corresponding duty to credit each account “with

Contributions allocated to such Account and generally … with income on

investments derived from the assets of such Accounts[.]” (Id., §5.1.) At all times,

the Administrative Committee also was required to maintain “[e]ach Account of a

Participant or Beneficiary … until the value thereof has been distributed to or on

behalf of such Participant or Beneficiary.” (Id.)

       49.       As the de facto “Investment Committee” for the Plan, the

Administrative Committee also made and effected investment decisions for the Plan

during the Class Period. In this role, the Administrative Committee also had the

duty

       (1)       To appoint one of more persons to serve as investment manager
                 with respect to all or part of the Plan assets …;

       (2)       To allocate the responsibility and authority being carried out by
                 the Investment Committee among the members of the
                 Investment Committee;

       (3)       To take any action appropriate to ensure that the Plan assets are
                 invested for the exclusive purpose of providing benefits to
                 Participants and beneficiaries in accordance with the Plan and
                 defraying reasonable expenses of administering the Plan, subject
                 to the requirements of any applicable law; and

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      (4)    To employ one or more persons to tender advice with respect to
             any responsibility or authority being carried out by the
             Investment Committee.

(See Plan, Exh. 1, § 12.7.)

      50.    As the de facto Investment Committee, the Administrative Committee

further had “the power to provide the Trustee with general investment policy

guidelines and directions to assist the Trustee respecting investments made in

compliance with, and pursuant to, the terms of the Plan.” (See Plan, Exh. 1, § 12.8.)

      51.    Section 7.8(a) of the Plan authorized the Investment Committee, i.e.,

the Administrative Committee, to “appoint any one or more individuals or entities

to serve as the investment manager or managers of the entire Trust or of all or any

designated portion of a particular Investment Fund or Investment Funds.”

      52.    The Plan required each investment manager to “certify it is qualified to

act as an ‘investment manager’ within the meaning of ERISA Section 3(38)[.]” (Id.

§ 7.8(a).) An ERISA § 3(38) investment manager is “any fiduciary (other than a

trustee or named fiduciary …

      (A)    who has the power to manage, acquire, or dispose of any asset of
             a plan;

      (B)    who (i) is registered as an investment adviser under the
             Investment Advisers Act of 1940 [15 U.S.C. 80b-1 et seq.]; [or]
             (ii) … is registered as an investment adviser under the laws of
             the State …; and


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      (C)    has acknowledged in writing that he is a fiduciary with respect to
             the plan.


      D.     Defendant Investment Fiduciaries

      53.    Defendant Alliant Insurance Services, Inc. (“AIS”), as an investment

manager for the Plan appointed by the Administrative Committee, at all relevant

times, at relevant times during the Class Period, was a fiduciary under ERISA §

3(38), 29 U.S.C. § 1002(38)(A) and remains a party in interest under ERISA §§

3(14)(A), (B), 29 U.S.C. §§ 1002(14)(A), (B), whose services and compensation

Rollins and the Administrative Committee had a duty to monitor.

      54.    Defendant Alliant Retirement Services, LLC (“ARS), as an investment

manager for the Plan appointed by the Administrative Committee, at all relevant

times, at relevant times during the Class Period, was a fiduciary under ERISA §

3(38), 29 U.S.C. § 1002(38)(A) and remains a party in interest under ERISA §§

3(14)(A), (B), 29 U.S.C. §§ 1002(14)(A), (B), whose services and compensation

Rollins and the Administrative Committee had a duty to monitor.

      55.    Defendant LPL Financial LLC (“LPL”), as an investment manager for

the Plan appointed by the Administrative Committee, at all relevant times, at relevant

times during the Class Period, was a fiduciary under ERISA § 3(38), 29 U.S.C. §

1002(38)(A) and remains a party in interest under ERISA §§ 3(14)(A), (B), 29

U.S.C. §§ 1002(14)(A), (B), whose services and compensation Rollins and the

Administrative Committee had a duty to monitor.
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      E.     The Recordkeeper and Asset Allocation Manager

      56.    Prudential, at all relevant times during the Class Period, was the

recordkeeper for the Plan appointed by the Administrative Committee. In providing

recordkeeping and asset allocation services to the Plan and, as such, was and is a

party in interest under ERISA § 3(14)(B), 29 U.S.C. § 1002(14)(B), whose services

and compensation Rollins, the Administrative Committee, and its members had a

duty to monitor. Moreover, to the extent it exercised discretion or control over the

administration and management of the Plan and Plan assets, Prudential also was a

fiduciary under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).


    IV.     CLASS ALLEGATIONS, TIMELINESS, AND EXHAUSTION

      A.     Class Action Allegations

      57.    Plaintiffs bring this action on their own behalf and, pursuant to Rule

23 of the Federal Rules of Civil Procedure, on behalf of the following Class:

      Participants and beneficiaries of the Plan from January 1, 2009 through

      the date of judgment, excluding Defendants and (a) any person who

      was or is an officer, director, employee, or a shareholder of 5% or more

      of the equity of Rollins or is or was a partner, officer, director, or

      controlling person of Rollins; (b) the spouse or children of any

      individual who is an officer, director or owner of 5% or more of the

      equity of Rollins; (c) Plaintiffs’ counsel; (d) judges of the Court in

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      which this case is pending and their current spouse and children; and,

      (e) the legal representatives, heirs, successors and assigns of any such

      excluded person.

      58.    The members of the Class are so numerous, consisting of thousands of

members, not including their spouse beneficiaries, who, upon information and belief,

are sufficiently dispersed geographically such that joinder of all members is

impracticable. The issues of liability are common to all members of the Class and

are capable of common answers as those issues primarily focus on Defendants’ acts.

The common issues include whether Defendants breached fiduciary duties to the

Plan and Plan participants, whether Defendants engaged in prohibited transactions,

and the appropriate relief for Defendants’ violations of ERISA.

      59.    Plaintiffs’ claims are typical of the claims of other members of the Class

because their claims arise from the same event, practice and/or course of conduct,

i.e. a scheme to misrepresent to and conceal from participants and beneficiaries the

prohibited transactions in which each engaged and their respective breaches of

fiduciary duty at all times during the Class Period.

      60.    Plaintiffs’ claims are also typical of the claims of other members of the

Class because the relief sought consists of requiring Defendants to make the Plan

whole for any losses caused by their fiduciary breaches and to disgorge their profits

to the Plan. Any such recovery from Defendants will be paid to the Plan and any


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relief will flow to all Class Members through their accounts in the Plan.

      61.       Plaintiffs will fairly and adequately represent and protect the interests

of the Class.

      62.       Plaintiffs do not have any interests antagonistic to or in conflict with

those of the Class.

      63.       Defendants have no unique defenses against Plaintiffs that would

interfere with Plaintiffs’ representation of the Class.

      64.       Plaintiffs are represented by counsel experienced in prosecuting ERISA

class actions and with particular experience and expertise in litigation involving

ERISA breaches of fiduciary duty and ERISA prohibited transactions.

      65.       The requirements of Fed. R. Civ. P. 23(b)(1)(A) are satisfied.

Fiduciaries of ERISA-covered plans have a legal obligation to act consistently with

respect to all similarly situated participants and to act in the best interests of the Plan

and its participants. This action challenges whether Defendants acted consistently

with their obligations under ERISA as to the Plan as a whole. As a result, prosecution

of separate actions by individual members would create the risk of inconsistent or

varying adjudications that would establish incompatible standards of conduct

relating to the Plan.

      66.       The requirements of Fed. R. Civ. P. 23(b)(1)(B) are also satisfied.

Administration of an ERISA-covered plan requires that all similarly situated


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participants be treated the same. Resolving whether Defendants engaged in

prohibited transactions with respect to the Plan and fulfilled their fiduciary

obligations to the Plan would, as a practical matter, be dispositive of the interests of

the other participants in the Plan even if they are not parties to this litigation and

would substantially impair or impede their ability to protect their interests if they are

not made parties to this litigation by being included in the Class.

      67.    The requirements of Fed. R. Civ. P. 23(b)(2) are satisfied as to the Class

because Defendants have acted and/or failed to act on grounds generally applicable

to the Class, making declaratory and injunctive appropriate with respect to the Class

as a whole. This action challenges whether Defendants engaged in prohibited

transactions, which would be violations of ERISA as to the Plan as a whole and as

to the Class as a whole. The relief sought in this case primarily consists of

declarations that Defendants engaged in prohibited transactions or breached their

fiduciary duties. As ERISA is based on trust law, any monetary relief consists of

equitable monetary relief that would either flow directly by the declaratory or

injunctive relief or flows as a necessary consequence of that relief.

      68.    The requirements of Fed. R. Civ. P. 23(b)(3) are also satisfied. The

common questions of law and fact concern whether Defendants engaged in

prohibited transactions or breached their fiduciary duties to the Plan. As the

members of the Class were participants in that Plan, their accounts were affected by


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those breaches and violations. Common questions related to liability will necessarily

predominate over any individual questions precisely because Defendants’ duties and

obligations were uniform to all participants and therefore all members of the Class.

As relief and any recovery will be on behalf of the Plan, common questions as to

remedies will likewise predominate over any individual issues.

       69.       A class action is a superior method to other available methods for the

fair and efficient adjudication of this action. As the claims generally are brought on

behalf of the Plan, resolution of the issues in this litigation will be efficiently

resolved in a single proceeding rather than multiple proceedings and each of those

individual proceedings could seek recovery for the entire Plan. Class certification is

a superior method of proceeding because it will obviate the need for unduly

duplicative litigation which might result inconsistent judgments about Defendants’

duties with regard to the Plan.

       70.       The following factors set forth in Rule 23(b)(3) also support

certification:

             a. The members of the Class have an interest in a unitary adjudication of

                 the issues presented in this action for the reasons that this case should

                 be certified under Rule 23(b)(1).

             b. No other litigation concerning this controversy has been filed by any

                 other members of the Class.


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             c. This District is the most desirable location for concentrating this

                litigation because (i) Rollins is located in this District; (ii) the Plan is

                administered in this District; (iii) one or more Defendants are located

                in this District; (iv) a significant number if not the majority of the Class

                members are located in this District, and (v) a number of the witnesses,

                including a number of relevant non-party witnesses, are expected to be

                located in this District.

             d. There are no anticipated difficulties in managing this case as a class

                action.

       B.       Timeliness

       71.      Under ERISA, claims for breach of fiduciary duty may be brought for

“(1) six years after (A) the date of the last action which constituted a part of the

breach or violation, or (B) in the case of an omission the latest date on which the

fiduciary could have cured the breach or violation ....” 29 U.S.C. § 1113. See also

Tibble, supra (“A plaintiff may allege that a fiduciary breached the duty of prudence

by failing to properly monitor investments and remove imprudent ones. In such a

case, so long as the alleged breach of the continuing duty occurred within six years

of suit, the claim is timely.”).

       72.      Indeed, even after making initial investment decisions, Named Plan

Fiduciaries had (and still have) a duty to continue to monitor the Plan investments


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and remove imprudent ones. This duty required them to systematically consider all

Plan investments at regular intervals to ensure the investments are appropriate.

      73.    The continuing duty doctrine applies to “monitoring and reviewing”

duties even with respect to Investment Funds placed into the Plan more than six

years before the filing of the lawsuit if, as here, they remained in the Plan during

ERISA’s six-year limitation period. Therefore, the Class includes any Plan

participant who held imprudent funds during the six-year period, regardless of when

those funds were added to the Plan. The Class also includes those participants who

suffered damages prior to six years from filing of this action as Named Plan

Fiduciaries had a duty to repair and make whole the participants’ losses during the

six-year period.

      74.    The continuing duty doctrine applies to “monitoring and reviewing” the

Trustee, Prudential, and Defendant Investment Fiduciaries, all of whom provided

advice or other services within six years of the filing of this action.

      75.    At all relevant times during the Class Period, Named Plan Fiduciaries

chose to ignore the conflicts of interest inherent in Prudential’s self-interested asset

allocation scheme from which they, the Trustee, and Defendant Investment

Fiduciaries also secretly profited.

      76.     At all relevant times during the Class Period, Named Plan Fiduciaries

also made affirmative misrepresentations to participants about the security of their


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investments, the competence of the Defendant Investment Fiduciaries, and the

independence of the Trustee, Prudential, and Defendant Investment Fiduciaries.

      77.     At all relevant times during the Class Period, Named Plan Fiduciaries

intentionally concealed their fiduciary breaches and prohibited transactions with

Prudential, the Trustee, and Defendant Investment Fiduciaries to prevent Plan

participants from discovering them and avoiding the need to cure the deficiencies.

      78.     In this case, Named Plan Fiduciaries had and have an ongoing duty to

rectify its deficiencies and make whole losses that creates a continuing duty and

ongoing breaches, or alternately tolls the statute, so the Class Period will ultimately

begin when the Plan began committing the breaches described herein, as the

damages continued and should have been repaired during the six-year period.

      79.     Because Named Plan Fiduciaries affirmatively concealed the violations

of ERISA alleged in this Amended Complaint and their participation in them, and

because Plaintiffs did not acquire actual knowledge of these violations until late

2019, within three years of the filing of this action, Plaintiffs’ claims in this action

are timely.

      C.      Exhaustion of Administrative Remedies

      80.     On December 10, 2020, Plaintiffs, pursuant to Section 11.7 of the Plan,

submitted claims with respect to the violations and breaches alleged here (the

“Administrative Claims”) to the Administrative Committee.


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      81.    On March 1, 2021, the Administrative Committee denied the

Administrative Claims.

      82.    On March 9, 2021, Plaintiffs, pursuant to Section 11.7(c) of the Plan,

filed an appeal of the Administrative Claims.

      83.    On May 6, 2021, the same members of the Administrative Committee

denied the Administrative Claims on Plaintiffs’ appeal and notified Plaintiffs of their

right to bring this suit under the terms of the Plan.

      84.    At all times before and during Plaintiffs’ administrative appeal, the

Administrative Committee was aware of the conduct of Prudential, the Trustee, and

the Defendant Investment Fiduciaries alleged in this Amended Complaint, but made

it clear, both in denying Plaintiffs’ claims and in subsequent communications,

including their Motion to Dismiss in this action, that it does not plan to pursue any

claims against Defendant Investment Fiduciaries or any of the Defendants.

      85.    Consequently, further attempts by Plaintiffs to redress their complaints

through the administrative process would be futile.

      86.    This and all other conditions precedent to this action have been satisfied

or waived.

                   V. SPECIFIC FACTUAL ALLEGATIONS

      A.     The Investment Menu

      87.    At all relevant times during the Class Period, the Plan, upon information


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and belief, was structured as a cafeteria plan. Participants could choose from a menu

of investment options, but those options were selected and maintained by Rollins,

the Administrative Committee, and its members, with input from and advice by

Prudential and Defendant Investment Fiduciaries.

      88.    The relevant investment funds had specific asset classes. An “asset

class” is a grouping of similar investments, e.g., equities (stocks), fixed income

(bonds) or cash. Classes are often further divided into sub-classes, such as “large

cap,” “small cap,” “growth,” “international” and so forth. In the context of mutual

funds, the asset class typically is defined by reference to a broad market index

generally reflecting the market sector in which the fund invests (e.g., the S&P 500,

the Russell 1000 and the NASDAQ Composite).

      89.    While participants could choose which asset classes in which to invest,

they had no control over the cost or performance of the funds selected by Named

Plan Fiduciaries within each asset class. Indeed, participants were captive investors

whose choices were limited by the investment decisions made by Named Plan

Fiduciaries. The value of their individual accounts depended in large measure upon

the decisions Named Plan Fiduciaries and Defendant Investment Fiduciaries made.

      B.     Conflicted Named Plan Fiduciaries Selected and Retained High
             Fee, Poorly Performing, Imprudent Investments in GoalMaker.

      90.    At all relevant times during the Class Period, Prudential not only served

as the recordkeeper for the Plan, but also provided the GoalMaker asset allocation

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service to the Plan.

      91.    An asset allocation program can be a benefit to participants – especially

those with limited investment experience or time – in selecting a portfolio from a

plan’s investment menu. However, such service must be prudently monitored by a

fiduciary to ensure it has the participants’ best interests in mind. Regrettably, such

was not the case with the use of GoalMaker by Defendants.

      92.    At all relevant times during the Class Period, GoalMaker was the

default investment option for the Plan (i.e., the investment option chosen for

participants who do not choose an allocation for themselves). In fact, during the

Class Period, over 70% of participants invested in GoalMaker portfolios.

      93.    The Administrative Committee intentionally populated GoalMaker

with poorly performing, high fee mutual funds which paid illicit kickbacks and other

forms of indirect compensation to Prudential, Defendant Investment Fiduciaries, and

the Trustee. As consideration for doing so, the Administrative Committee was able

to pass the Plan’s administrative and investment fees to participants and

beneficiaries without having to specifically delineate and disclose those fees to them.

      94.    Using the investment options offered through the Plan, GoalMaker

purported to allocate participants’ retirement savings to model portfolios based upon

the participant’s age (or expected retirement date) and risk tolerance (high,

moderate, or low).


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      95.    Importantly, participants enrolled in the GoalMaker service could not

change the recommended allocations without being disenrolled in the service.

             1.     Named Plan Fiduciaries’ Active Management Strategy in
                    GoalMaker

      96.    All of the investment options in GoalMaker, consisted of actively

managed mutual funds.

      97.    “Active investment management” and similar terms refer to investment

strategies that try to achieve above average market returns over time, that is, actively

managed funds try to “beat the market.” That is, active managers try to identify and

exploit market inefficiencies. See Restatement (Third) of Trusts § 90 cmt. h(2)

(active management involves “searching for advantageous segments of a market, or

for individual bargains in the form of under-priced securities.”). The search for

potential market inefficiencies requires research and analysis, which increases

investment management costs. See id.

      98.    With actively managed mutual funds, the funds’ respective investment

managers charged fees based on a percentage of the fund’s total assets. The

investment management fees are deducted from investment returns, thus reducing

the net returns on participants’ investments, often without their knowledge.

      99.    While prudent investment principles allow for active management

strategies in appropriate circumstances, the additional risks and costs involved “must

be justified by realistically evaluated return expectations. Additionally, “[a] trustee’s
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approach to investing must be reasonably supported in concept and must be

implemented with proper care, skill and caution.” Restatement (Third) of Trusts

cmt. f.

      100. Thus, in deciding whether to pursue an active management strategy, a

fiduciary should determine that “gains from the course of action in question can

reasonably be expected to compensate for its additional costs and risks.” Id. at cmt.

h(2). That is, prudence requires a fiduciary to have a realistic expectation that an

active management strategy will generate net returns equal to or greater than

reasonable alternatives, such as investing in low-cost index funds (a “passive”

strategy).

      101. A passive management strategy “aim[s] to maximize returns over the

long run by not buying and selling securities very often. In contrast, an actively

managed fund often seeks to outperform a market (usually measured by some kind

of index) by doing more frequent purchases and sales.” U.S. Sec. and Exch.

Comm’n, Investor Bulletin: Index Funds (Aug. 6, 2018). See also A Look at 401(k)

Plan Fees, supra, at 7 (“Passively managed funds seek to obtain the investment

results of an established market index, such as the Standard and Poor’s 500, by

duplicating the holdings included in the index.”).

      102. Whether an active or passive strategy ultimately is chosen, prudence

requires the plan fiduciary to avoid any investment that is not reasonably expected


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to generate returns sufficient to cover its costs.

      103. Here, Named Plan Fiduciaries not only breached their duties by failing

to have a prudent, reasoned process for deciding upon and carrying out their

investment strategy, but also, they failed to monitor the funds and assets they

selected for the Plan menu and failed to replace their imprudent selections with

prudent ones.

      104. Named Plan Fiduciaries selected and retained only actively managed

funds in GoalMaker that paid excessively high revenue sharing and kickbacks to

Prudential, the Trustee, and Defendant Investment Fiduciaries but that did not

perform as well as other funds which were available to the Administrative

Committee at the time of its investment decisions. No index or other passive

investment options were made available to participants in GoalMaker.

      105. As noted above, in deciding whether to pursue such an expensive and

risky active management strategy, Named Plan Fiduciaries were obligated, first, to

determine that “gains from the course of action in question [could] reasonably be

expected to compensate for its additional costs and risks.” Restatement (Third) of

Trusts § 90 cmt. h(2).

      106. Named Plan Fiduciaries’ active management strategy was not justified

because they knew or should have known that there was no realistic expectations of

recouping returns sufficient to cover the substantial additional costs and risks of the


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strategy.

      107. Empirical data at the time that Named Plan Fiduciaries made their

investment selections and retention decisions demonstrated that, over time and

across market sectors, the actively managed funds they selected consistently failed

to outperform the market. This failure was most pronounced in asset classes

demonstrating a high degree of market efficiency.

      108. Faced with this data, Named Plan Fiduciaries should have proceeded

with great caution, knowing that an active management strategy was a high-stakes,

low-percentage bet. Nevertheless, Named Plan Fiduciaries heedlessly made that bet

while playing with participants’ money.

      109. The annual dollar cost to the Plan’s participants of Named Plan

Fiduciaries’ decision to pursue an active investment strategy, compared to the cost

of comparable but less expensive investment products was significant (in the multi-

millions of dollars).

             2.     Named Plan Fiduciaries Failed to Use Expense Ratios to
                    Understand Investment Fees and Costs in GoalMaker

      110. To manage operating expenses, a plan sponsor must understand and

continually evaluate the plan’s expenses, fees and service providers.          The

Department of Labor advises:

      As the sponsor of a retirement plan ... you, or someone you appoint,
      will be responsible for making important decisions about the plan’s
      management. Your decisionmaking will include selecting plan

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      investments or investment options and plan service providers. Many of
      your decisions will require you to understand and evaluate the costs to
      the plan.... Among other duties, fiduciaries have a responsibility to
      ensure that the services provided to their plan are necessary and that the
      cost of those services is reasonable.... As a plan fiduciary, you have an
      obligation under ERISA to prudently select and monitor plan
      investments, investment options made available to the plan’s
      participants and beneficiaries, and the persons providing services to
      your plan. Understanding and evaluating plan fees and expenses
      associated with plan investments, investment options, and services are
      an important part of a fiduciary’s responsibility. This responsibility is
      ongoing.

U.S. Dep’t of Labor, Emp. Benefits Sec. Admin., Understanding Retirement Plan

Fees and Expenses, 1-2 (Dec. 2011).

      111. Stated simply, to determine whether reasonably expected returns

justified the costs of their active management strategy, Named Plan Fiduciaries had

to understand those costs. The best tool for that was the “expense ratios” of the

mutual funds they selected.

      112. A mutual fund’s annual expense ratio is calculated by dividing the

fund’s operating expenses by the average dollar value of its assets. Expense ratios

are strong predictors of performance. In fact, the SEC requires every mutual fund to

disclose its expense ratio in a standardized format in the fund’s prospectus.

      113. In addition to investment management fees, the expense ratio also

reflects certain other fees that may be paid by the mutual fund to other service

providers (a practice known as “revenue sharing”), such as “distribution” fees (or

“12b 1 fees”), “sub-transfer agency” fees and other costs, such as for accounting and

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legal services. The mutual fund passes along these costs to investors by deducting

them from investment returns.

      114. The leading mutual fund investment research and services firm,

Morningstar, emphasizes the effect of expenses on fund performance and advises

investors to rely on expense ratios when choosing mutual funds:

      If there’s anything in the whole world of mutual funds that you can take
      to the bank, it’s that expense ratios help you make a better decision. In
      every single time period and data point tested, low-cost funds beat high-
      cost funds.... Expense ratios are strong predictors of performance….
      Investors should make expense ratios a primary test in fund selection.
      They are still the most dependable predictor of performance.

Russel Kinnel, How Expense Ratios and Star Ratings Predict Success (Aug. 9,

2010), available at https://www.morningstar.com/articles/347327/how-expense-

ratios-and-star-ratings-predict-success.

      115. Named Plan Fiduciaries, however, did not make expense ratios a

primary test in fund selection. Instead, Named Plan Fiduciaries approved the use of

high-fee, actively managed funds for GoalMaker and intentionally excluded lower

fee, similarly or better performing funds, including significantly cheaper share

classes of the more expensive funds they retained.

      116. In some cases, the average annual expense ratios for multiple

investment options in GoalMaker were six times higher than the average expense

ratios for lower-cost, similarly or better performing Vanguard index funds invested

in the same asset classes ("Vanguard comparable funds"). Because every mutual
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fund’s expense ratio is published at the front of its prospectus, this information was

readily available to Named Plan Fiduciaries at the time they made their investment

decisions.

         117. For example, in 2016, all of the mutual funds in GoalMaker (Franklin

Growth Adv, Vanguard Windsor II Adm, Victory Sycamore Established Value A,

T. Rowe Price New Horizons, American Funds Europacific Growth R4, and

Metropolitan West Total Return Bond Plan) had a combined expense ratio of

approximately 0.70%, while their Vanguard comparables (Vanguard Growth Index

Adm, Vanguard Index Adm, Vanguard Mid Cap Index Adm, Vanguard Total Int’l

Stock Market Index Adm, and Vanguard Total Bond Market Index Adm) had an

expense ratio of 0.08%, a difference of 0.62%.

         118. Throughout the Class Period, the investment management fees charged

by the Plan’s fund managers were millions of dollars higher than the investment

management fees for comparable Vanguard funds would have been.

         119. Prior to having their hands forced by highly publicized revenue-sharing

lawsuits in 2018, neither Named Plan Fiduciaries nor Defendant Investment

Fiduciaries compared the performance of the GoalMaker funds to the performance

of Vanguard comparable funds, among other passively managed target date index

funds.

         120. Failure to include Vanguard comparable funds in GoalMaker resulted


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in over $50 million in plan participants' retirement savings.

      121. Named Plan Fiduciaries’ failure to proceed with great caution further

caused them to ignore that actively managed funds typically charge higher fees than

passively managed funds. See A Look at 401(k) Plan Fees, supra, at 7. These costs

are significant. As the Department of Labor reports, investment management fees

are “by far the largest component” of all ERISA plan fees and expenses. See id. at 2

      122. The additional investment management fees charged by the Plan’s fund

managers were not justified because, at the time they made their investment

decisions, the Named Plan Fiduciaries knew or should have known that the funds,

based on their historic performance and other market factors, would not generate

returns that compensated for those additional fees.

      123. Had Defendant Investment Fiduciaries and Named Plan Fiduciaries

simply compared the expense ratios of the Plan’s funds with the expense ratios of

the Vanguard comparable funds’ benchmarks, they would have known that

participants could have invested in essentially the same underlying assets simply by

choosing the lower-cost, similarly or better performing Vanguard comparable funds

(or similar funds) and thereby saved the Plan participants millions of dollars.

      124. In short, at the time they made their investment decisions, Named Plan

Fiduciaries knew or should have known that the returns from the actively managed




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funds selected by Named Plan Fiduciaries would fall far short of recouping the

millions of dollars those funds cost.

      125. Named Plan Fiduciaries easily could have determined the costs of the

Plan’s investments by comparing their expense ratios to those of Vanguard

comparables or other index funds invested in the same asset classes. This they did

not do.

                   a.     Distribution (“12b-1”) fees

      126. The expense ratios of the funds in GoalMaker included substantial

“distribution” fees. In a mutual fund, distribution fees (i.e., fees that cover the

marketing, advertising and sales of the fund, and that compensate brokers for selling

fund shares) are pure waste because participants do not obtain benefits in the form

of lower average expenses or lower flow volatility. Instead, they pay the costs to

grow the fund, while the fund adviser is the primary beneficiary of the fund’s growth.

      127. For example, Named Plan Fiduciaries, during the Class Period, selected

and thereafter retained the R4 version of the American Europacific Growth Fund

(REREX) in GoalMaker. This is so even though the REREX fund paid 25 basis

points in 12b-1 fees and 10 basis points in subtransfer fees to Prudential. The

identical fund was available to the Plan in an R-6 share class, which paid no 12b-1

or sub-TA fees to Prudential, at an average cost of 0.49% per year over the Class

Period, a difference of 0.35%.


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      128. Plan participants investing in this fund received no benefit from the

distribution fees. In fact, the 0.35% difference noted above resulted in the waste of

$1.5 million in participants retirement savings over the Class Period, before

compounding.

      129. But even if distribution fees somehow were defensible, the Plan did not

need to incur them. This is especially so given that the corresponding Vanguard

funds, which were available at the time Named Plan Fiduciaries selected and

retained the more expensive, worse performing funds in GoalMaker, had no

distribution fees.

      130. Named Plan Fiduciaries alternatively could have negotiated better

pricing that did not include distribution fees. Their failure to do so simply wasted

participants’ money.

      131. These fees were wasted because Named Plan Fiduciaries did not have

a viable process for monitoring them. There was no performance-based justification

or other reason for Named Plan Fiduciaries to waste plan participants’ retirement

savings on these additional fees.

                     b.   Transaction Costs

      132. Transaction costs result from the purchase and sale of investments such

as stocks and bonds by mutual fund companies. These costs are not included in a

fund’s expense ratio and are often hidden from participants.


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      133. For example, the SEC requires mutual funds to disclose their annual

“turnover ratio,” the percentage of the fund’s holdings that have changed over the

year. It is a measure of trading activity: the more trading, the higher the costs.

      134. The GoalMaker funds’ average transaction costs during the Class

Period were in the range of 80 to 95 basis points per 100% of fund turnover, which

was material to the fund’s performance. Upon information and belief, these costs

were materially higher than those of their Vanguard comparables.

      135. Critically, the funds that Named Plan Fiduciaries excluded from

GoalMaker had low trading costs.

      136. The process used by Named Plan Fiduciaries to select and retain these

high turnover funds in GoalMaker was imprudent because it did not rely on an honest

evaluation of the merits of the funds themselves, but on the need to pay revenue

share to Prudential. This was a fee-driven, not a sound investment policy driven,

fund selection process that was manifestly imprudent.

      137. Named Plan Fiduciaries knew or should have known at all times during

the Class Period that high turnover would increase transaction costs borne needlessly

by participants.

      138. There is no question that the additional costs that the Plan and Plan

participants incurred were substantial. Named Plan Fiduciaries wasted tens of

millions of participants’ retirement savings (before compounding).


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      139. ERISA required Named Plan Fiduciaries to determine whether these

substantial additional costs were in fact justified by realistically evaluated return

expectations. This duty Named Plan Fiduciaries violated.

      140. Named Plan Fiduciaries simply were not up to the task of implementing

a low-cost, high-return investment strategy. ERISA’s prudent investor standard

required them to have a prudent methodology for ensuring participants’ money was

spent wisely – that is, Named Plan Fiduciaries needed to evaluate and affirmatively

determine that the Plan and the participants would be compensated for the additional

costs by a justifiable expectation of additional returns – net of fees – over what

participants could have earned simply by investing in lower-cost funds. This Named

Plan Fiduciaries did not do.

      141. While Rollins did not have a well-defined investment policy, the

Administrative Committee was, nonetheless, aware that the funds were not

performing in accordance with participants’ or fiduciaries’ expectations.

      142. It should have been clear to Defendant Investment Fiduciaries and

Named Plan Fiduciaries that the cost of the GoalMaker funds was not justified by a

reasonable expectation of excess returns. The funds should have been removed from

the investment menu.

      143. Instead, Named Plan Fiduciaries misrepresented to participants and

beneficiaries that they had taken steps to control trading costs when they had not.


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             3.     A Prudent Fiduciary Would Have Considered Adding
                    Index Funds to GoalMaker.

      144. While expense ratios are not the only consideration a plan sponsor

should take into account when making investment decisions, a prudent plan sponsor,

knowing the risks of an active management strategy and seeing that the costs of the

funds it selected were significantly higher on average than comparable index funds,

would have considered populating GoalMaker with one or more index funds.

      145. Index funds allow investment in efficient broad markets without

incurring unnecessary fees. According to Morningstar research, in 2019, the asset-

weighted average expense ratio for actively managed U.S. mutual funds was 0.66%,

while the asset-weighted average expense ratio for passive funds was one-fifth of

that, 0.13%. See Morningstar Manager Research, 2019 U.S. Fund Fee Study, 1 (June

2020), https://www.morningstar.com/lp/annual-us-fund-fee-study.

      146. The index fund approach to investing and controlling costs is

fundamentally sound from a trust law perspective. See Restatement (Third) of Trusts

§ 90 Reporter’s General Note on Comments e through h (research supports the use

of passive strategies such as index funds); id. at cmt. h(1) (“Investing in index funds

that track major stock exchanges or widely published listings of publicly traded

stocks is illustrative of an essentially passive but practical investment alternative to

be considered by trustees seeking to include corporate equity in their portfolios.”).

Even the Restatement notes, “[c]urrent assessments of the degree of efficiency

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support the adoption of various forms of passive strategies by trustees, such as

reliance on index funds.” Restatement (Third) of Trusts § 90 General Note on

Comments e through h.

      147. Importantly, index fund returns account for fees and costs so that

participants know what they are being charged for their investments. Named Plan

Fiduciaries intentionally failed to incorporate any passive strategies, like index

funds, into GoalMaker.

      148. At the time Named Plan Fiduciaries made their investment decisions

during the Class Period, index funds comparable to each of the Plan’s funds were

readily available from Vanguard and other reputable providers, including Fidelity,

Schwab, and others. These index funds historically performed as well or better than

the funds the Named Plan Fiduciaries selected and retained in GoalMaker and also

charged significantly fewer fees.

      149. Named Plan Fiduciaries, at all relevant times during Class Period, failed

to timely investigate and add less costly index funds to the investment bond category.

This is so even though they knew that the index option had low expense ratios and

would give aging participants another option in the category.

      150. Named Plan Fiduciaries' investment strategy was imprudent when

made. By heedlessly pursuing a strategy they should have known was imprudent,

and then, not changing course as that strategy failed, Named Plan Fiduciaries wasted


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millions of dollars of Plan participants' money.

             4.      High-Priced Share Classes.

      151.    Prudence requires plan fiduciaries to monitor both the performance and

cost of the investments selected for their 401(k) plans, leveraging the size of their

plan to ensure that well-performing, lower cost investment options are available to

plan participants.

      152. Shares of a single mutual fund may be offered in different “classes” (for

example: retail v. institutional) which correspond to different shareholder rights and

costs, such as different fee and “load” (i.e., sales) charges. All share classes of mutual

funds charge fees for the management of the assets of the fund. Indeed, a single

mutual fund may have multiple share classes with different levels of advisory or

shareholder services, thereby resulting in different expense ratios and different

revenue sharing for the various share classes.

      153. Importantly, while the costs for the different asset classes may differ,

the investment product, the managers, investment styles, and stocks are identical.

      154. The two most common types of mutual funds are retail funds and

institutional funds. Retail class shares – such as class A, B, and C shares – are

available to a broad spectrum of investors, including individuals, while institutional

class shares – such as class I and R6 shares – are typically only sold to larger

investors, including 401(k) plans.


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      155. “[I]nstitutional mutual funds typically charge lower expense ratios than

do the retail funds with similar holdings and risk characteristics. One estimate is that

the typical institutional fund has an expense ratio that is 50 basis points lower than

comparable retail funds.” U.S. Dep’t of Labor Pension & Welfare Ben. Admin.,

Study of 401(k) Plan Fees and Expenses § 2.4.1.3 (Apr. 13, 1998).

      156. The significant differences in the expense ratios between and among

the institutional share classes to which retirement plans have access typically appear

in the mutual fund prospectus descriptions, “Annual Fund Operating Expenses,”

relating to the investment management fees, 12b-1 and sub-TA fees, and other fees.

The Annual Fund Operating Expenses often are different for different classes of

shares, depending on the type of distribution, 12b-1, and other fees included in the

expense ratio.

      157. By virtue of their size, large retirement plans have substantial

bargaining power to obtain low, institutional share class pricing. Here, Named Plan

Fiduciaries, despite having access to professional advice and the responsibility to

manage a $1+ billion retirement plan, repeatedly failed to invest in the lower cost

share classes available to it in order to properly reduce fees and costs associated with

fund management.

      158. To comply with their duties under ERISA, Named Plan Fiduciaries had

a duty to investigate the best share class pricing available. This they did not do.


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      159. Instead, Named Plan Fiduciaries intentionally populated GoalMaker

with a series of high-fee, underperforming investment funds, to the exclusion of

prudent, cheaper, and equally or better performing funds. The additional fees

charged by these imprudent funds were not justified by realistically evaluated return

expectations, and the cost of the funds were substantially more expensive (often by

a factor of 10 or more) than readily available low-cost, similarly or better performing

funds in the same asset classes.

      160. Named Plan Fiduciaries’ failure to follow a prudent process in

investigating and periodically monitoring their selection of investment funds in

GoalMaker, and their failure to act exclusively for the benefit of the Plan participants

and beneficiaries, allowed Prudential, the Trustee, and Defendant Investment

Fiduciaries to take kickbacks from the mutual funds in GoalMaker (e.g., 12b-1, sub-

TA, and other fees).

      161. At the time Named Plan Fiduciaries made their investment decisions

during the Class Period, they knew or should have known that the funds in the asset

classes selected for and retained in GoalMaker consistently underperformed their

own chosen benchmarks.

      162. Named Plan Fiduciaries regularly and imprudently selected and

retained high-cost share classes when it could have obtained similarly or better

performing low-cost share classes.


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                   a.     Franklin Growth Fund

      163. Named Plan Fiduciaries failed to monitor and imprudently retained the

Franklin Growth fund even though a cheaper, better performing share class, at all

relevant times during the Class Period, was available. Not only that, but this fund

was also an imprudent choice and violated the Plan’s Investment Policy Statement

by earning on average significantly less each year it was retained during the Class

Period than its benchmark performed.

      164. During the 2016 monitoring period, Named Plan Fiduciaries and

Defendant Investment Managers knew or should have known that this Franklin

fund’s average alpha was a negative 1.56% per year for the three earlier years and a

negative 1.83% for the prior five years.

      165. Upon information and belief, Named Plan Fiduciaries also were aware

that Prudential had similar selling agreements with other funds, such as Franklin,

which also paid finder fees charged to participants’ accounts without their

knowledge.

      166. By retaining even this one underperforming fund and failing to monitor

and remove it from the GoalMaker investment line up, Named Plan Fiduciaries and

Defendant Investment Fiduciaries cost the Plan and Trust approximately $33

million.




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                   b.        Metropolitan West Total Return Bond

      167. In 2015, Named Plan Fiduciaries selected and thereafter retained the

Metropolitan West Total Return Bond fund even though it paid excessive fees to

Prudential and/or Defendant Investment Fiduciaries out of Plan assets and placed

more risk on participants.

      168. In fact, this fund held less than 30% in government bonds and the

corporate bonds held an average credit rating of “BBB” -- the lowest investment

grade rating before “junk” status.

                   c.        Victory Sycamore Established Value A Fund

      169. In 2016, Named Plan Fiduciaries selected and thereafter retained the

Victory Sycamore Established Value A (“VETAX”) fund to the Plan’s portfolio

solely because it paid revenue sharing fees of 0.35% per year. Named Plan

Fiduciaries did so even though a different share class of that fund, the Victory

Sycamore Established Value I (“VEVIX”) fund, had the same holdings and same

management, and generated a higher annual yield at a significantly reduced cost.

      170. Named Plan Fiduciaries did so because the VETAX fund paid revenue

sharing fees to Defendant Investment Fiduciaries.

      171. Named Plan Fiduciaries’ selection and retention of the VETAX fund

resulted in a compounded loss of at least 51 basis points (0.51%) in annual returns

that would have been generated by the VEVIX fund.


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                   d.     Other Funds

      172. Named Plan Fiduciaries also imprudently failed to monitor and, as a

result, retained retail shares class of multiple funds of American Funds Europacific

Growth, and American Funds Capital World Growth and Income instead of

switching to identically performing but less costly alternative institutional share

class of the same fund. Only when highly publicized lawsuits involving these funds

forced their hand did Named Plan Fiduciaries make the switch.

      173. Named Plan Fiduciaries’ failure to investigate and select the best

available share class pricing for identically performing funds wasted millions of

dollars in participants’ retirement savings on excessive fees during the Class Period.

To save that money, Named Plan Fiduciaries did not have to change investments;

they merely had to insist on the pricing their market power gave them.

             5.    Named Plan Fiduciaries Failed to Appropriately Select and
                   Monitor the Stable Value Fund in GoalMaker.

      174. The single largest fund in GoalMaker was Prudential’s Guaranteed

Income Contract (the “Prudential GIC”), a “stable value fund” provided by

Prudential. A prudent fiduciary, recognizing the importance of the fund in the Plan’s

investment lineup, would have taken great care in selecting and monitoring this

investment option. Named Plan Fiduciaries did not.

      175. Stable value funds are unique investments available only in ERISA

defined contribution plans and certain other tax-advantaged plans. A stable value

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fund is a conservative, capital preservation investment product typically composed

of high quality, low risk investments. Stable value funds are designed to provide

steady, positive returns and pay a contractually guaranteed return known as a

“crediting rate.” The crediting rate is set by the contract and may be reset at

predetermined intervals.

      176. By 2013, there were 229 participants using the Prudential Guaranteed

Fund as their sole investment. Little did these participants know that Defendants

agreed to a significant increase of basis points for this fund and, as such, that they

were being unduly, inequitably, and unknowingly burdened to pay for Plan costs.

      177. The Prudential GIC was subject to the terms of an investment contract

between Named Plan Fiduciaries and Prudential. The Prudential GIC also was

subject to the single entity credit risk of Prudential, the issuer of the contract. The

crediting rate, set in advance by Prudential and reset from time to time in Prudential’s

sole discretion, was not tied to the performance of a diversified pool of assets in

which the investors in the fund have an interest.

      178. Prudential pooled the assets of the Plan’s stable value fund with those

of other, unaffiliated retirement plans and invested them. For its fee, Prudential kept

the “spread,” i.e., the difference between the crediting rate amounts Prudential paid

to participants and the returns generated on the pooled assets. Higher spread fees

result in lower crediting rates.


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      179. This difference, almost 1% per year on average, is the excess spread

that Named Plan Fiduciaries failed to monitor.

      180. Because Named Plan Fiduciaries had the opportunity and duty to

evaluate the investment in advance, this is not a case of judging an investment with

the benefit of hindsight. Named Plan Fiduciaries failed to monitor the fees and

performance of the Prudential GIC and to remove or replace it even though

substantially identical investment options were available to Named Plan Fiduciaries

from Prudential and other stable value providers with higher crediting rates and

lower spread fees.

      181. The amount of money invested in the Prudential GIC was a direct result

of the manner in which the Plan was structured and of Named Plan Fiduciaries’

decision to use GoalMaker. Indeed, GoalMaker made large allocations to GIC, even

at moderate risk levels with several years until retirement.

      182. Named Plan Fiduciaries did not have to scour the marketplace to find a

better performing fund; rather, they simply had to make a minimal effort to

determine whether the same fund was available at a lower cost. This they failed to

do.

      183. This breach of fiduciary duty alone resulted in millions of dollars in

loss (before compounding) of participants’ retirement savings. This loss is

something a competent, prudent, and diligent fiduciary would have known was


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happening in advance and would have been able to avoid.

      184. The fact that the Prudential GIC performed poorly, both at the time

Named Plan Fiduciaries selected and at all subsequent times during the Class Period,

magnifies the fiduciary breaches here. Because of the way crediting rates are

calculated, a stable value fund like the Prudential GIC is less sensitive to interest

rates than bond funds. Consequently, a stable value product that performs well

generally continues to perform well, in a stable manner. Conversely, a stable value

product that performs poorly, such as the Prudential GIC, generally continues to

perform poorly, in a stable manner.

      185. Had Named Plan Fiduciaries prudently researched and monitored the

Prudential GIC, and had Defendant Investment Fiduciaries done the same, they both

would have known at the time of their fiduciary acts that the fund likely would

underperform and continue to underperform.

      186. Defendant Investment Fiduciaries missed (if not ignored) the spread

fees and, as such, did not provide an accurate accounting of the Prudential GIC fees

to Named Plan Fiduciaries. As a result, the information provided to participants to

make their fund choices were incomplete and misleading.

      187. The consequence of failing to monitor the cost of Prudential GIC was

particularly significant in the case of the Plan here. As noted above, Prudential, the

stable value provider, was also the Plan’s recordkeeper and the supplier of the


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GoalMaker product, which Prudential applied in a self-dealing manner to steer Plan

participants to its product.

      188. The excessive spread in this case resulted in a windfall to Prudential

and Trustee, whose compensation Named Plan Fiduciaries and Defendant

Investment Fiduciaries had a legal duty to monitor but failed to discharge.

      189. Based on the excessive spread fees alone, the Prudential GIC was an

imprudent investment which should have been removed from GoalMaker and the

Plan. Not only were participants charged excessive fees, but they also lost the

opportunity to invest their money in asset classes that delivered higher returns. The

millions of dollars in participants’ retirement savings that GoalMaker allocated to

the Prudential GIC during the Class Period would have been invested in funds with

substantially higher returns if the Plan had been prudently managed.

      190.    Named Plan Fiduciaries did not have a prudent process for selecting or

monitoring the costs of the Prudential GIC. Substantially similar products were

available from other providers that would have provided far higher returns to the

Plan participants.

      191. A plan with a $100 million stable value fund like the Prudential GIC

has considerable bargaining power in the marketplace. At all times during the Class

Period, there were multiple stable value products available to similar sized plans

with lower fees and higher crediting rates.


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      192. To take advantage of this bargaining power, Named Plan Fiduciaries,

through Defendant Investment Fiduciaries, should have submitted requests for

proposal to other stable value fund providers. For example, the Vision Service Plan,

comparable to the Plan here, had bid out its Prudential general account stable value

fund to obtain a superior product with higher crediting rates in the three percent

range. To obtain better rates, all that Named Plan Fiduciaries had to do was ask. This

they did not do.

      193. Plaintiffs estimate that Prudential received over $5 million in excess

spread fees during the Class Period. This excess cost was entirely foreseeable. The

future return on a stable value product is known in advance, set by the crediting rate.

Named Plan Fiduciaries knew the crediting rate when it selected and thereafter

retained the Prudential GIC.

      194. A prudent fiduciary would have known that the Prudential GIC would

underperform and that, being a stable value product, it would continue to

underperform. Named Plan Fiduciaries should not have selected the Prudential GIC.

Certainly, as the Prudential GIC continued to underperform, Named Plan Fiduciaries

should have removed and replaced it.

      195. The funds invested in the Prudential GIC, in violation of ERISA §

1104(a)(1)(C), also were not adequately diversified. The Prudential GIC is a

contract, a piece of paper, subject to the single entity credit risk of Prudential, as the


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issuer of the contract. The return of the investment depends on crediting rates set at

the discretion of a single provider, Prudential. The crediting rate, set by Prudential

alone, is not tied to the performance of a diversified pool of assets in which the

investors in the fund have an interest. Simply stated, the risk and return characteristic

of the fund depended entirely on the creditworthiness and rates declared by a single

entity, Prudential. Upon information and belief, Prudential pocketed more than 70

basis points in excess fees and failed to provide the rate of return that would

ordinarily compensate for the Plan’s failure to fully diversify its investments.

      196. Not surprisingly, following the high-profile failure or near failure of

several stable value providers during the credit crisis of 2008-09, the trend among

fiduciaries in large plans was to avoid general account stable value funds because of

credit risk concerns and to select more diversified stable value products.

      197. While there may be circumstances under which it may be prudent not

to diversify the assets of a plan invested in a stable value fund, this is not such a case.

      198. At a June 2017 meeting, Named Plan Fiduciaries acknowledged that

the Prudential GIC was flexible in the revenue sharing that could be generated, that

they had the ability to demand a reduction of revenue sharing to 10 basis points, and

that such reduction would provide a direct increase in crediting rate to the

participants who invested in this fund. Despite these acknowledgements, Named

Plan Fiduciaries, as they had done throughout the Class Period, chose to keep the


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existing investment options and revenue sharing agreements as is, without further

discussion or reason.

      199. Prudential concealed and Defendant Investment Fiduciaries and Named

Plan Fiduciaries failed to investigate the actual underlying cost of the GIC. On the

notices provided to participants, the underlying expense ratio of the GIC was

omitted. Furthermore, the GIC’s net expense ratio (%) was left blank in participant

statements, despite the disclosure of all other funds’ expense ratios.

      200. Meanwhile, the GIC’s actual 0.50% underlying expense ratio generated

between $450,000 and $615,000 each year in additional undisclosed revenue to

Prudential between 2013 and 2020. This expense does not include the 0.20%

recordkeeping fee added to the expense ratio to cover Prudential’s “required revenue

deficit” that inequitably burdened participants who actively invested in or were

defaulted into the product.

      201. In short, the Prudential GIC was imprudent and should have been

removed from the Plan.

             6.     Wasting Participants’ Money through GoalMaker.

      202. As most participants in 401(k) plans expect that their 401(k) accounts

will be their principal source of income after retirement, and because “[w]asting

beneficiaries’ money is imprudent[,]” Uniform Prudent Investor Act (the “UPIA”) §

7, a plan fiduciary should minimize costs of investments.


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      203. The day-to-day operation of an ERISA plan requires certain basic

administrative functions, such as recordkeeping and accounting, and other

discretionary services, such as providing customer service representatives, online

account management, and educational programs. See A Look at 401(k) Plan Fees,

supra, at 3. The fees for these services, as well as the fees charged by investment

advisors to the plan, are components of administrative expenses.

      204. ERISA specifically requires a plan sponsor to “defray[ ] reasonable

expenses of administering the plan ....” 29 U.S.C. § 1104(A)(ii). That is, in investing

and managing Plan assets, Named Plan Fiduciaries must minimize costs.

      205. Every ERISA plan incurs administrative expenses for recordkeeping

and various professional services.      The underlying cost to a recordkeeper of

providing recordkeeping services to a defined contribution plan is primarily

dependent on the number of participant accounts in the Plan rather than the amount

of assets in the Plan.

      206. The incremental cost for a recordkeeper to provide recordkeeping

services for a participant's account does not materially differ from one participant to

another; it is generally not dependent on the balance of the participant's account.

      207. Recordkeeping and other Plan expenses also can be prudently selected,

monitored, and retained based on offering less expensive, equal or better performing

share classes of the same fund. Investment managers use tiered expense ratios,


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several share classes with institutionally priced shares the least expensive. Plan

fiduciaries have a responsibility to consider the reasonableness of any expense ratio

when selecting a mutual fund or any other investment option for the Plan. This is

especially so because, on average, there are lower expense ratios for 401(k)

participants than those for other investors.

                    a.       “Revenue sharing” Hid the Plan’s True Costs.

      208. Named Plan Fiduciaries schemed with Prudential and Defendant

Investment Fiduciaries to make GoalMaker a revenue sharing plan. Revenue sharing

is the practice of mutual funds paying other service providers’ fees (e.g., as here,

recordkeeping and investment advisory fees), and passing the cost on to participants

through the mutual funds’ expense ratio.

      209. Revenue sharing is often touted by the mutual fund industry as a way

of controlling expenses. More often, it drives up administrative expenses while

obscuring their true cost.

      210. Not surprisingly, revenue sharing is widely known as “the dirty little

secret of the mutual fund industry,” accounting for more than $2 billion annually by

the industry. See, e.g., John P. Freeman, The Mutual Fund Distribution Expense

Mess, 6/28/2007, The Journal of Corporation Law.

      211. Plan fiduciaries generally decide how to pay the negotiated fee for

recordkeeping services. In a direct fee arrangement, the fiduciary contracts with a


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recordkeeper to obtain administrative services in exchange for a flat annual fee based

on the number of participants. Under this type of arrangement, each participant,

regardless of his or her investments or balance will incur the same fee. For those

participants invested in funds that are paying revenue sharing, revenue can be

credited back to those participants to ensure that each participant is paying the same

fee. See Sheldon Geller, “Understanding the Various Kinds of 401(k) Service Fee

Arrangements,” CPA Journal (Jul. 2016).

      212. Revenue sharing arrangements are often preferred by many plan

fiduciaries because they do not receive a bill for the recordkeeping expenses and,

therefore, can pass on the expenses to plan participants, many times (as here) without

the participant's knowledge that they are being charged.

      213. Revenue sharing arrangements likewise are generally preferred by

recordkeepers, because they readily can obtain an increase in revenue without having

to ask their plan clients to take affirmative steps to pay a higher fee, and without

them having to do additional work.

      214. The amount of revenue sharing varies from fund to fund. As a practical

matter, participants whose accounts are invested in funds that pay revenue sharing

subsidize the administrative costs for participants who have invested in the

investments that do not pay revenue sharing. Plaintiffs here fall into both categories

of participants.


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      215. The nature of revenue sharing arrangements exposes plan fiduciaries to

self-dealing and conflicts of interest, as well as to causing the plan to engage with

self-dealing and/or conflicted service providers. For example, in providing advice,

an investment fiduciary theoretically could influence the decision-making process

and cause the plan to invest in funds which pay higher revenue sharing payments

relative to cheaper and similarly or better performing alternative investments.

Likewise, inherent conflict of interest in such situations can cause plan fiduciaries

to select and retain funds that benefit them and plan service providers even though

they are not the most prudent investment option. This is exactly what happened here.

      216. Decisions about whether to select funds that pay revenue sharing, how

to pay for recordkeeping services, and how to allocate those payments are fiduciary

in nature and, thus, subject to ERISA's duties of prudence and loyalty. That is, plan

fiduciaries, in all cases, must engage in a process to make these decisions and must

consider the impact on the participants.

      217. Plan fiduciaries have an obligation under ERISA to understand and

monitor revenue sharing payments made to covered service providers to ensure that

the total amount of such payments, together with any other sources of compensation

received by the provider, are not excessive. This Named Plan Fiduciaries did not do

during the Class Period.

      218. While revenue sharing is not necessarily improper, it was abused here


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and, of equal import, intentionally concealed from Plan participants.

                    b.     Investment Advisory Expenses

      219. Defendant Investment Fiduciaries provided investment advisory

services to Named Plan Fiduciaries, including recommendations respecting mutual

funds and the Plan’s investment menu. With respect to all the mutual funds in

GoalMaker, Defendant Investment Fiduciaries were compensated, at least in part,

with revenue sharing.

      220. Named Plan Fiduciaries’ compensation was not clearly stated in Named

Plan Fiduciaries’ statutory disclosures.

      221. Based on publicly available data reported by similarly sized ERISA

plans, and upon information and belief, the fees that Defendant Investment

Fiduciaries charged the Plan and Plan participants were grossly excessive.

      222. Named Plan Fiduciaries failed to monitor and control the investment

advisory fees charged by Defendant Investment Fiduciaries, resulting in substantial

losses to Plan participants.

                    c.     Recordkeeping expenses

      223. Regardless of the pricing structure negotiated by the plan fiduciary, the

fiduciary must ensure that the fee paid to the recordkeeper is reasonable for the level

of services provided. However, a recordkeeping provider receives its compensation,

whether through direct payments, indirect compensation such revenue sharing, or a


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combination of both, the plan fiduciaries must ensure that the that the total

compensation received by the provider is reasonable for the services provided. To

determine reasonability, plan fiduciaries must understand the total dollar amounts

being paid to the recordkeeper as well as understanding the marketplace rates for the

recordkeeping services received by the Plan.

      224. To prudently manage and control a plan's recordkeeping costs, a plan

fiduciary must pay close attention to the recordkeeping fees being paid by the Plan.

A prudent fiduciary tracks fee transparencies, fee analyses, fee summaries,

relationship pricing analyses, cost-competitiveness analyses, and multi-practice and

standalone pricing reports.

      225. To make an informed evaluation as to whether a recordkeeper or other

service provider is receiving no more than a reasonable fee for the services provided

to a plan, a prudent fiduciary must identify all fees, including direct compensation

and indirect compensation (like revenue sharing) being paid to the plan's

recordkeeper. To the extent that a plan's investments pay asset-based revenue sharing

to the recordkeeper, prudent fiduciaries monitor the amount of the payments to

ensure that the recordkeeper's total compensation from all sources does not exceed

reasonable levels and require that any revenue sharing payments that exceed a

reasonable level be returned to the plan and its participants.

      226. A plan fiduciary also must remain informed about overall trends in the


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marketplace regarding the fees being paid by other plans, particularly comparably

sized plans, as well as the recordkeeping rates that are or may be available to the

plan. This will generally include conducting a bid process at reasonable intervals,

and immediately upon discovery that a plan's recordkeeping expenses have grown

significantly or appear high in relation to the general marketplace. More specifically,

a bid process should happen at least every three years as a matter of course, and more

frequently if the plan experiences an increase in recordkeeping costs or if every-

other-year fee benchmarking reveals the recordkeeper's compensation to exceed

levels found in other, similar plans.

      227. Prudent plan fiduciaries ensure they are paying only reasonable fees for

recordkeeping services by soliciting competitive bids from several service providers

to perform the same services currently being provided to the Plan. This is not a

difficult or complex process, and prudent plan fiduciaries perform it regularly. Plan

fiduciaries need only request a bid, a request for proposal ("RFP"), from salespeople

at other service providers. For plans with as many participants as the Plan, most

recordkeepers would require only the number of participants to provide a quote.

      228. The fees paid to recordkeepers should be evaluated and compared by

the plan fiduciaries on a dollar per participant basis, because the compensation can

come from multiple sources, as described above. By merely soliciting bids from

other providers, a prudent plan fiduciary can quickly and easily gain an


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understanding of the current market for similar recordkeeping services and have an

idea of a starting point for negotiation.

      229. The market for recordkeeping services is highly competitive. There are

numerous high quality recordkeepers that will readily respond to a request for

proposal from a large defined contribution plan, like this Plan. These recordkeepers

differentiate themselves primarily on price and vigorously compete for business.

      230. The recordkeeper’s costs are a function of the number of plan

participants, not the value of their accounts. The cost of providing recordkeeping

services to a participant with a small account balance is the same for a participant

with a large balance.

      231. Plans with large numbers of participants can take advantage of

economies of scale: a plan with 1,000 participants can negotiate a lower per

participant fee than a plan with 100 participants.

      232. Given the number of participants in the Plan during the Class Period,

and the average account balance in the Plan, Named Plan Fiduciaries, had they been

prudent, would have given serious consideration to pricing recordkeeping services

on a per capita basis, rather than an asset basis, to avoid being overcharged.

      233. Importantly, as part of the bidding process, the plan sponsor must

require the recordkeeper to identify not only the level of recordkeeping services and

their cost, but also the cost of any proprietary investment products offered by the


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recordkeeper or its affiliates that the Plan must select (a “bundling” arrangement).

In evaluating the compensation of a recordkeeper, a plan fiduciary must consider the

compensation of the recordkeeper from all sources, not only direct payments, but

from bundled products and services, fees from separate accounts, and revenue

sharing as well.

      234. During the Class Period, Named Plan Fiduciaries did not implement a

prudent process for bidding out recordkeeping services or benchmarking the

recordkeeping costs. Nor did Named Plan Fiduciaries “benchmark” Prudential’s fees

at relevant times during the Class Period to make sure they are reasonable. As

intimated above, benchmarking is necessary both when a recordkeeper is selected,

to verify that the initial fees are reasonable, and regularly thereafter, typically once

a year.

      235. Named Plan Fiduciaries and Defendant Investment Fiduciaries, upon

information and belief, neglected to solicit nor submit bid proposals for more than

10 years during the Class Period. Named Plan Fiduciaries and Defendant Investment

Fiduciaries were incentivized not to participate in such bid process, as they knew

that any new fee policy would expose the errors in their past practices. Named Plan

Fiduciaries also were concerned about the manner in which the changes would be

communicated to participants.

      236. Based on information currently available to Plaintiffs regarding the


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Plan’s features, the nature of the administrative services provided by Prudential, the

Plan’s participant level, and the recordkeeping market, failure to have monitored and

solicited bid proposals for recordkeeping services cost the Plan and Plan participants

millions of dollars during the Class Period.

        237. Based on publicly available information reported by similarly sized

ERISA plans, Prudential’s recordkeeping fees charged to the Plan and Plan

participants were grossly excessive considering the value of the services it provided,

including both recordkeeping and the stable value fund. This is especially so given

that this was not the only compensation Prudential received. Indeed, Prudential also

was compensated indirectly by bundled fees from its stable value fund and other

illicit kickbacks not disclosed to Plan participants.

        238. The potential for this sort of abuse is precisely why parties-in-interest

(such as recordkeepers) are presumptively prohibited from entering into contracts

with the plan for other services, such as the stable value fund contract. See 29 U.S.C.

§ 1106(a) (prohibited transactions between plan and a party-in-interest).

        239. Upon information and belief, Prudential, during the Class Period,

received approximately 10 times the amount of what reasonable fees would have

been.

        240. In determining whether Prudential’s recordkeeping fees were

reasonable, Named Plan Fiduciaries, particularly in light of Prudential’s bundling


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arrangement, Named Plan Fiduciaries should have scrutinized its total

compensation. Named Plan Fiduciaries failed to do that, and the participants

suffered for it.

       241. Whether Plan participants paid Prudential’s excessive fees directly

through deductions from their individual accounts, or indirectly as cost of revenue

sharing and the bundling arrangement, they were harmed all the same. Every dollar

of unreasonable recordkeeping fees cost participants a retirement dollar that was no

longer available for investment.

       242. Upon information and belief, the Plan’s actual administrative expenses

for recordkeeping and investment advisory services were millions of dollars more

than they should have been.

       243. At all relevant times during the Class Period, Named Plan Fiduciaries

easily could have received a quote from other service providers to determine if the

level of fees charged by Prudential and Defendant Investment Fiduciaries. This they

did not do.

       244. In short, Named Plan Fiduciaries failed to monitor and control total

administrative expenses, resulting in significant losses to Plan participants.

              7.    The Why: Defendants’ Conflicts of Interest

       245. While the same investment options in GoalMaker were available to

participants who did not use GoalMaker, not all of the options available outside


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GoalMaker were available in GoalMaker. This was intentional.

      246. Because GoalMaker was the default investment option for participants,

Named Plan Fiduciaries, at the insistence of Prudential and Defendant Investment

Fiduciaries, purposely populated it only with funds that, unbeknownst to

participants, paid hidden, excessive revenue sharing fees.

      247. The hidden fees paid by these funds, and the revenue sharing agreement

between Prudential and the Defendant Investment Fiduciaries, directly benefitted

Named Plan Fiduciaries. So long as they agreed to populate GoalMaker with these

funds, Prudential did not send them a bill for recordkeeping services. Instead, the

expenses were taken out of the revenue generated by the investment funds, i.e., out

of participants’ benefits.

      248. Had Prudential, instead, invoiced the Plan for its recordkeeping

services, Named Plan Fiduciaries would have been forced to disclose the excessively

high fees Prudential charged to participants. This transparency would have enabled

participants to challenge such expenses as unreasonable.

      249. At all relevant times, Named Plan Fiduciaries knew that they were

putting their own interests ahead of plan participants.

      250. Participants who, like Fleming, defaulted to GoalMaker, unknowingly

were charged for these unreasonable fees and kickbacks, which were not reflected

in their account statements.


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      251. Concealing these expenses and revenue sharing from participants

allowed Defendants to continue benefitting from their illicit revenue sharing

arrangements.

      252. At all relevant times, Named Plan Fiduciaries failed to follow the terms

of the Plan, which required them to restore (regardless of closed years) the account

balances for those participants using GoalMaker who were harmed by being required

to invest in the more expensive share classes (with lower yields and total returns).

      253. The selection and retention of investment funds in GoalMaker were

made by Named Plan Fiduciaries during the Class Period in a fiduciary capacity.

Named Plan Fiduciaries, however, did not have the competence, exercise the

diligence, or have in place a viable methodology to monitor either the competence

of Prudential and Defendant Investment Fiduciaries, or the prudence of selecting and

retaining the investment options in GoalMaker.

      254.   At all relevant times during the Class Period, Plan fiduciaries knew, or

should have known, that Prudential and Defendant Investment Fiduciaries designed

the Plan’s investment platform to steer participants’ retirement savings in

GoalMaker to investment options that paid unreasonable, secret, and indirect

compensation to Prudential, the Trustee, and Defendant Investment Fiduciaries.

      255. Up through at least June 2017, Prudential’s increased revenue sharing

during the Class Period had reduced the crediting rate to every one of the


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approximately 7,000 participants invested in the GoalMaker program.

      256. Such investment expense adversely affected the Plan’s mutual funds’

performance and income (yields). Specifically, the expenses were taken daily from

each of the Plan’s mutual funds based on the prospectus (commensurately reducing

each mutual fund’s net asset value). Because trading in a 401(k) plan is done on an

omnibus, not individual level, the mutual fund companies then sent their collected,

aggregated revenue sharing amounts back to Prudential for each specific fund

periodically based on their fund selling agreement, which Plaintiffs did not receive.

      257. The affected individual participants in the Plan, however, received their

“credits” more than 90 days later.         Plus, their “credits” were deemed only

“estimates,” which prevented them from compounding as quickly as those of

cheaper equivalent funds (the “Missed Monthly Yields”).

      258. As Fund yields on the more expensive share classes were often depleted

by more than 30%, the Missed Monthly Yields also directly harmed every investor

in the affected mutual fund dramatically more than the revenue sharing credit’s true

worth.

      259. Furthermore, upon information and belief, if and/or when Plan

participants/beneficiaries changed their investment elections and/or separated from

service, they did not receive any “credits” at all.

      260. The Plan’s participants/beneficiaries’ revenue-sharing deductions and


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crediting amounts also varied dramatically by each fund chosen and kept by Named

Plan Fiduciaries.

      261. The reason why the Plan (especially GoalMaker) included high fee

funds and excluded cheaper and similarly or better performing funds is simple. The

high-fee funds made payments to Prudential and Defendant Investment Fiduciaries

as a result of being included in the Plan’s investment lineup. The lower-fee funds

did not.

      262. In 2009, Named Plan Fiduciaries realized that they did not have

sufficient funds to offset Prudential’s recordkeeping expenses. Named Plan

Fiduciaries, putting their own interests ahead of participants, decided to pass on the

deficit to participants without their knowledge. Indeed, Named Plan Fiduciaries

expressly instructed Defendant Investment Fiduciaries not to disclose this deficit in

future participant account statements. Defendant Investment Fiduciaries, at all

relevant times during the Class Period, heeded this instruction without further debate

or discussion.

      263. In 2010, Prudential and Defendant Investment Fiduciaries, because of

the substantial revenue sharing fees it generated, pushed Prudential’s proprietary

fund, the Prudential Guaranteed Income Contract fund, on Named Plan Fiduciaries.

Named Plan Fiduciaries agreed to include this fund in the Plan’s investment menu.

Of greater import, Named Plan Fiduciaries affirmatively allowed an increase to 20


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basis points for revenue sharing in the Prudential GIC. This was so even though the

fund had provided for only 5 basis points in revenue sharing for this fund since 2009

or before.

      264. By 2012, the Plan had a surplus from the revenue sharing fees

unknowingly paid for by participants. Rather than disclose or rebate that surplus

(even in part) to participants, Named Plan Fiduciaries, after discussions with

Prudential and Defendant Investment Fiduciaries, decided to conceal it from

participants and to continue the existing revenue sharing arrangement with

Prudential and Defendant Investment Fiduciaries.

      265. Named Plan Fiduciaries imprudently selected the Hartford Midcap fund

in 2016, which (upon information and belief) paid fees charged by Prudential and/or

Defendant Investment Fiduciaries out of Plan assets, to replace an equally

performing institutional fund that did not charge such fees. Moreover, Named Plan

Fiduciaries selected this share class even though a cheaper, better performing class

of this fund had been available since November 2014. Upon information and belief,

based on an analysis of the Forms 5500 filed by the Plan and a comparison with the

benchmark, The Hartford Midcap fund underperformance in the period from 2016

through 2021 cost the Plan approximately $8.5M.

      266. At all relevant times during the Class Period, Named Plan Fiduciaries

intentionally concealed from participants the benefits that they, Prudential, and


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Defendant Investment Fiduciaries received from the poorly performing funds which

provided unreasonably high revenue sharing fees and illicit kickbacks.

      267. At all relevant times during the Class Period, Named Plan Fiduciaries

affirmatively endorsed these investment funds to participants even though they

knew, or should have known, that the majority of these funds failed to outperform

relevant benchmarks and, at the same time, depleted participant accounts by

charging excessively high fees to their accounts without their knowledge.

      268. Because of their conflicts of interest, Named Plan Fiduciaries, at all

relevant times during Class Period, never considered selecting institutional share

classes, which paid significantly lower fees and performed as well or better than their

retail share counterparts.

      269. The revenue sharing provided by the Metropolitan West and Oakmark

funds recommended by Defendant Investment Fiduciaries and Prudential and

selected and retained by Named Plan Fiduciaries caused the Plan’s strategy and risk

profile to dramatically shift. Whereas, in 2014, nearly the entire 40% fixed income

portion of the portfolio was invested in highly rated U.S. Bonds, by 2019, up to 20%

of the fund’s portfolio consisted of high yield (junk) bonds. Named Plan Fiduciaries,

in violation of their ERISA duties, failed to address the significant shift in investment

strategy and risk as mandated by the Plan’s Investment Policy Statement.

      270. Named Plan Fiduciaries’ reckless practice of reducing participants’


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total returns by the revenue sharing amounts to pay bills from covered service

providers such as Prudential and Defendant Investment Fiduciaries was

mathematically flawed. For every $1,000 of wages invested by a participant in a

fund (selected and retained by Named Plan Fiduciaries), over 80% had at least 25

basis points in revenue sharing deductions. This means that, at all relevant times

during the Class Period, Named Plan Fiduciaries, without the participant’s

knowledge, knowingly directed $2.50 for every $1,000 invested by a participant to

Prudential and Defendant Investment Fiduciaries. This arrangement directly harmed

participants, as they earned on average significantly less than what they would have

earned without this arrangement.

      271. These harms were experienced by participants and beneficiaries

immediately. Because revenue sharing is taken each day of the year, it compounds

negatively in an exponential manner (not arithmetically).

      272. The payment, and compounding, of revenue sharing fees paid to

Prudential, by decreasing the net asset value (“NAV”) (i.e., the price of the affected

funds),   resulted   in   additional   lost    opportunity   costs   to   the   Plan’s

participants/beneficiaries.

      273. But for Named Plan Fiduciaries’ breaches of their duties of prudence

and loyalty, and their failure to follow the terms of the Plan, participants and

beneficiaries lost the opportunity to have their benefits grow significantly.


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      274. At all relevant times during the Class Period, Plan fiduciaries knew, or

should have known, that Prudential and Defendant Investment Fiduciaries designed

the Plan’s investment platform to steer participants’ retirement savings to investment

options that paid unreasonably high fees and kickbacks to Prudential and Defendant

Investment Fiduciaries.

      275. Only because of three highly publicized revenue sharing abuse

lawsuits, Named Plan Fiduciaries, for the first time in 2018, were forced to change

their selection and monitoring processes of covered service providers, reduce

recordkeeping fees, add index funds, and improve many of the share class funds in

the investment menu.

      276. Of all Plan assets invested in mutual funds in 2020, 80% had often not

been timely invested during the Class Period into identical, cheaper, similarly or

better performing share classes.

      277. At all relevant times during the Class Period, Named Plan Fiduciaries

knew or should have known that a plan with more participants, such as the Plan, can

receive a lower effective per participant fee when evaluated on a per participant

basis. Named Plan Fiduciaries also knew or should have known that the Plan should

have received lower effective per participant fees than were actually paid.

      278. In devising and implementing strategies for the investment and

management of trust assets, Named Plan Fiduciaries, as trustees of the Plan, had a


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duty to minimize costs. Restatement 3d of Trusts, § 90 (2012).

      279. Named Plan Fiduciaries had a duty to “avoid unwarranted costs” by

being aware of the “availability and continuing emergence” of alternative

investments that may have “significantly different costs.” Id.

      280. Adherence to this duty required the regular performance of an

“adequate investigation” of existing investments in the Plan to determine whether

any of the Plan’s investments were “improvident” or if there was a “superior

alternative investment” to any of the Plan’s holdings. Id.

      281. At all relevant times during the Class Period, Fiduciaries knew or

should have known that they must regularly monitor the Plan’s recordkeeping fees

paid to covered service providers, including but not limited to Prudential.

      282. At all relevant times during the Class Period, Named Plan Fiduciaries

failed to regularly monitor the Plan’s recordkeeping fees paid to Prudential.

      283. At all relevant times during the Class Period, Named Plan Fiduciaries

knew or should have known that they must regularly solicit quotes and/or

competitive bids from covered service providers to avoid paying objectively

unreasonable fees for recordkeeping services.

      284. At all relevant times during the Class Period, Named Plan Fiduciaries

knew or should have known that it was in the best interests of the Plan’s participants

to ensure that the Plan paid no more than a competitive and reasonable fee for the


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recordkeeping services.

      285. At all relevant times during the Class Period, and unlike a prudent

fiduciary, Named Plan Fiduciaries failed to ensure that the Plan paid no more than a

competitive reasonable fee for recordkeeping services. Doing so breached Named

Plan Fiduciaries’ duty to act with a degree of care that could be expected under all

circumstances by reasonable beneficiaries and participants and cost the Plan and

participants millions of dollars.

      286. At all relevant times during the Class Period, and unlike a prudent

fiduciary, Named Plan Fiduciaries did not have a process in place to ensure that the

Plan paid no more than a competitive reasonable fee for recordkeeping services.

Alternatively, to the extent there was a process in place that Named Plan Fiduciaries

followed, they acted ineffectively, given the objectively unreasonable fees paid for

recordkeeping services.

      287. At all relevant times during the Class Period, and unlike a prudent

fiduciary, Named Plan Fiduciaries did not engage in any objectively reasonable

and/or prudent efforts to ensure that the Plan paid no more than a competitive

reasonable fee for recordkeeping services.

      288. Upon information and belief, at all relevant times during Class Period,

because Named Plan Fiduciaries failed to regularly monitor the Plan’s recordkeeping

fees paid to Prudential, the Plan’s recordkeeping service fees were significantly


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higher than they would have been had Named Plan Fiduciaries engaged in this

process.

         289. At all relevant times during the Class Period, because Named Plan

Fiduciaries did not regularly solicit quotes and/or competitive bids from covered

service providers, the Plan’s recordkeeping service fees were significantly higher

than they would have been had Named Plan Fiduciaries engaged in these processes.

Alternatively, to the extent there was a process in place that Named Plan Fiduciaries

followed, Named Plan Fiduciaries acted ineffectively, given the objectively

unreasonable fees paid for recordkeeping services.

         290. At all relevant times during the Class Period, because Named Plan

Fiduciaries did not engage in any objectively reasonable and/or prudent efforts when

paying fees for recordkeeping services to Prudential, Prudential ‘s fees were

significantly higher than they would have been had Named Plan Fiduciaries engaged

in these efforts.

         291. Named Plan Fiduciaries wholly failed to prudently manage and control

the Plan’s recordkeeping costs by failing to undertake any of the aforementioned

steps.

         292. Named Plan Fiduciaries also hid the true share cost of the Plan’s funds

from the Plan’s participants/beneficiaries in participant statements, in Form 5500s

filed with the DOL, and in employee communications and, in doing so, prevented


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participants from demanding that these ERISA violations be cured, and prevented

their access to an investment menu of faster compounding and cheaper yet identical

mutual funds.

      293. Plan participants, at all relevant times during the Class Period, were

unable to discern from their account statements how much of their contributions

actually were put into the Plan.

      294. Based on the information available to Plaintiffs, Named Plan

Fiduciaries permitted the Plan to pay Prudential excessive and unreasonable

recordkeeping and other administrative costs during the Class Period.

      295. At all relevant times during the Class Period, Named Plan Fiduciaries,

based upon the information available to them, and annual recordkeeping fees paid

by plans of comparable size, could have negotiated recordkeeping fees for

significantly less than what was charged per participant.

      296. Even to the extent that Named Plan Fiduciaries did undertake a review

of the Plan’s recordkeeping expenses, the process they used to evaluate fees was so

deeply flawed that Plan participants continued to pay significantly more than what

they should have been for substantially similar recordkeeping services.

      297. Had Named Plan Fiduciaries, at all relevant times during Class Period,

acted in the exclusive best interest of the Plan and/or employed a robust process to

gather appropriate information and evaluate recordkeeping fees and services, the


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Plan and Plan participants would have paid significantly less in recordkeeping fees.

      298. If Named Plan Fiduciaries had been acting in the exclusive best interest

of the Plan and Plan participants, and/or employed a robust process to gather

appropriate information and evaluate recordkeeping fees and services, the Plan and

Plan participants would have paid significantly less for recordkeeping services.

      299. During the entirety of the Class Period, unlike prudent fiduciaries,

Named Plan Fiduciaries did not regularly and/or reasonably assess the recordkeeping

fees paid to Prudential and did not engage in regular and/or reasonable examination

and competitive comparisons of the fees paid Prudential vis-à-vis the fees that other

recordkeeping providers would charge for the same services.

      300. During the entirety of the Class Period, Named Plan Fiduciaries knew

or should have known that they must engage in regular and/or reasonable

examination and competitive comparison of the Plan’s recordkeeping fees, but

discovery will show Named Plan Fiduciaries intentionally failed to do so.

      301. Had Named Plan Fiduciaries engaged in any regular and/or reasonable

examination and competitive comparison of the recordkeeping fees paid, they would

have realized that Prudential was being compensated unreasonably and

inappropriately for the Plan’s size and scale, passing these objectively unreasonable

and excessive fee burdens to Plaintiffs and the Class. The fees were also excessive

relative to the recordkeeping services received.


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      302. Named Plan Fiduciaries, at all relevant times during the Class Period,

affirmatively endorsed the selection of these excessively high-fee, poorly

performing funds to Plan participants to avoid receiving a bill for the services of

Prudential and Defendant Investment Fiduciaries.

      303. During the entirety of the Class Period, by failing to recognize that the

Plan and its participants were being charged much higher recordkeeping fees than

they should have been charged and/or by failing to take effective remedial actions

as described herein, Named Plan Fiduciaries breached their fiduciary duties to

Plaintiffs and the Class.

      304. At all relevant times during the Class Period, Defendants did not follow

the terms of the Plan, did not have adequate procedures in place to monitor Plan

service providers and investments, and did not act in the best interests of the Plan

participants.

      305.      Investment fund options chosen for a plan should not favor the fund

provider over the plan’s participants. Yet here, to the detriment of the Plan and its

participants and beneficiaries, the Plan’s fiduciaries endorsed and affirmatively

concealed from participants and beneficiaries Prudential’s selling agreements with

default investment funds in the Plan, revenue sharing agreements between Prudential

and Defendant Investment Fiduciaries, and their own conflicts of interest. As a

result, Plan participants were unaware of the excessive and unreasonable fees


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secretly charged to their accounts by Prudential and Defendant Investment

Fiduciaries.

      306. Named Plan Fiduciaries affirmatively reassured participants that they

would keep their retirement goals on track. However, this representation was false.

Instead, Named Plan Fiduciaries, recordkeeper Prudential, and the Defendant

Investment Fiduciaries served their own self-interests by funneling participants’

retirement savings into overpriced investment products and into investments that

paid finder fees and other kickbacks to them. In doing so, Named Plan Fiduciaries

affirmatively disfavored reliable, higher performing, and lower-cost funds available

from reputable providers that did not pay such kickbacks. This resulted in the

participants’ paying excessive investment management fees, administrative

expenses, and other costs, which over the Class Period cost participants millions of

dollars in retirement savings.

      307. At all relevant times, Named Plan Fiduciaries knew that they were

putting their own interests ahead of plan participants. In fact, at a June 2017 meeting,

Named Plan Fiduciaries acknowledged that a reduction of recordkeeper fees would

result in an increase of the revenue generated by the lineup and, therefore, inure to

the benefit of participants and beneficiaries.

      308. The payment of administrative fees is a matter which must also be

addressed separately on the merits. Advising a client to retain a fund that the client


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believes is imprudent for the purpose of paying recordkeeping fees is itself

imprudent.

        309. Named Plan Fiduciaries should have asked for competitive proposals

for recordkeeping fees and treated the payment of recordkeeping fees and the

selection of investments as separate and unrelated. This they did not do.

        C.    Named Plan Fiduciaries Also Selected and Retained High Fee,
              Poorly Performing, Imprudent Investments Outside of
              GoalMaker.

        310. Named Plan Fiduciaries’ conflicts of interest and breaches of prudence

and loyalty carried over to investments offered to participants outside GoalMaker as

well.

              1.    Oakmark Equity and Income Fund

        311. In 2009, Named Plan Fiduciaries sold all of the Dodge & Cox Balanced

Fund’s assets, then the default fund and representing the entire trust corpus’ shares

of this security worth an estimated $19 million of the accounts of participants and

beneficiaries, and put the resulting cash into the lower-yielding, more costly

Oakmark Equity and Income Fund. Named Plan Fiduciaries did so because the

Oakmark Equity and Income Fund paid 300% more in revenue sharing than the

Dodge & Cox Balanced Fund.

        312. Named Plan Fiduciaries did so even though the Dodge Balanced fund

earnings were $2,714,021.18 greater than the Oakmark Equity and Income Fund


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throughout the Class Period.

      313. Named Plan Fiduciaries did this even though they knew that the

Oakmark fund historically performed, and at all relevant times during the Class

period continued to perform, poorly, and ranked in the bottom 15th percentile.

      314. In fact, at the February 5, 2013, meeting, the Administrative Committee

acknowledged that if it “were to grade the [Oakmark] fund, it would receive an ‘F.’”

      315. Nevertheless, Named Plan Fiduciaries, knowing that it did not meet the

requirements per the Plan’s Investment Policy Statement, kept the Oakmark Equity

and Income Fund on its existing line-up and hid from participants its poor

performance and excessive revenue sharing fees.

      316. Named Plan Fiduciaries did not evaluate this fact at any point in making

their investment decisions. Nor did Named Plan Fiduciaries investigate why it was

prudent to replace the better performing, lower fee Dodge Balanced fund with the

Oakmark fund. Named Plan Fiduciaries made the switch because they put the

interests of Defendants ahead of those of participants and beneficiaries.

      317. The decision to finally remove the Oakmark Equity and Income Fund

from the Plan occurred on September 14, 2020, after a decade with significant

periods on the watch list, bottom-quartile returns, and investment style and risk

profile changes that Named Plan Fiduciaries failed to prudently monitor.

      318. Upon information and belief, Named Plan Fiduciaries’ conflicted


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decisions and imprudent processes during the Class Period will require another $23+

million to make the Plan and Plan participants whole.

             2.     Goldman Sachs Mid Cap Value A Fund

      319. At all relevant times during the Class Period, the Goldman Sachs Mid

Cap Value A fund held a large portion of the Plan’s assets.

      320. While they knew that at least two identical, less costly, better

performing, and higher-yielding funds (Goldman Sachs Mid Cap Value Instl and

“True No-Load” Goldman Sachs Mid Cap Value Instl fund) were available, Named

Plan Fiduciaries neither offered nor disclosed it to Plan participants. This is so even

though the alternative fund appeared on the same page as the Goldman Sachs Mid

Cap Value A fund’s prospectus, was run by the same management company, and

had the same managers with the same start dates.

      321. Named Plan Fiduciaries chose the more costly Goldman Sachs Mid Cap

Value A fund to generate revenue sharing, instead of being directly billed by

Prudential for its services.

      322. When Named Plan Fiduciaries replaced the Goldman Sachs Mid Cap

Fund with the Victory Fund, they affirmatively chose to conceal from Plan

participants the facts that Prudential had a selling agreement with Victory, that the

Victory Fund paid finders fees, and that these excessively high fees were passed on

to participants.


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      323. In fact, and unbeknownst to Plan participants, replacing the Goldman

Sachs Mid Cap Fund with the Victory Fund triggered compensation to the Defendant

Investment Fiduciaries in violation of trust law’s “impartiality rule” and their duty

of loyalty under ERISA.

             3.    Hartford MidCap fund

      324. In 2016, Named Plan Fiduciaries replaced Morgan Stanley Inst Mid

Cap Growth (added in the 2011 plan year) with the Hartford MidCap fund because

of the revenue sharing it provided the other Defendants.

      325. Named Plan Fiduciaries, without further evaluation or discussion,

retained the Hartford fund over the next five years even though it earned 15.3% per

year while the replaced Morgan Stanley fund earned 26.2% per year.

      326. The standard for determining the impact of underperforming mutual

funds is the comparison of the investment performance of the assets of the Plan

invested in high-fee funds in the plan to the investment performance that assets of

the Plan would have had if invested in low-cost index funds. Brotherston v. Putnam

Invs., L.L.C., 907 F.3d 17 (1st Cir. 2018). This can be estimated by taking the

weighted average of the mutual funds from the plan’s investment menu and using

publicly available data on mutual fund returns.

      327. Based upon the information presently available, Plaintiffs estimate that

the Plan participants lost over $50 million of their retirement money as a result of


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Defendants’ ERISA violations during the Class Period.

      D.     Named Plan Fiduciaries Did Not Hire Competent Professionals to
             Provide Investment Advice or Asset Allocation Services.

      328. A principal duty of an ERISA fiduciary is to be competent. See 29

U.S.C. § 1104 (a fiduciary shall discharge his duties with “care, skill, prudence, and

diligence”). “A trustee’s lack of familiarity with investments is no excuse: under an

objective standard trustees are to be judged according to the standards of others

‘acting in a like capacity and familiar with such matters.’” Katsaros v. Cody, 744

F.2d 270, 279 (2d Cir. 1984) (applying ERISA).

      329. Where the plan fiduciary lacks the requisite knowledge and experience,

it may engage professional advisors. See, e.g., Restatement (Third) of Trusts § 90

cmt. d. But hiring an outside advisor is not a magic wand that satisfies a fiduciary’s

duties to the Plan and Plan participants. See id. cmt. j. Rather, prudence requires

that the fiduciary investigate the background and competence of the advisor before

selecting him/her. Id.

      330. Rollins and the Administrative Committee hired and retained

Defendant Investment Fiduciaries during the Class Period Plan to advise them on

investment strategy and to recommend mutual funds for the plan’s investment menu.

However, Named Plan Fiduciaries never evaluated nor monitored whether

Defendant Investment Fiduciaries had the competence to provide such fiduciary

services.
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      331. Not surprisingly, every one of the Defendants’ actively managed funds

selected for participants since January 1, 2009, failed to beat their prospectus

benchmark with statistically significant alpha. This is not surprising because

virtually no actively managed funds beat the market consistently. Accord S&P Dow

Jones Indices, SPIVA Statistics & Reports (June 30, 2020), available at

https://www.spindices.com/spiva/#/reports/regions.

      332. Even a comprehensive study published in the Journal of Finance

surveyed investment advisors having a 91% share of the U.S. consulting market and

found “no evidence” that the advisors’ recommendations of funds added value,

“suggesting that the search of winners, encouraged and guided by investment

consultants, is fruitless.” Tim Jenkinson et al., Picking Winners? Investment

Consultants’ Recommendations of Fund Managers, 71 The Journal of Finance 2333,

2333 (October 2016).

      333. While it may be prudent under certain circumstances for a plan sponsor

to engage investment professionals to pursue an active management strategy,

prudence requires the sponsor to determine that the professionals are competent to

do so successfully. At a minimum, a prudent sponsor should confirm that the

professionals to have a track record of choosing actively managed funds that

outperform lower cost alternatives. As set forth below, this the Named Plan

Fiduciaries here did not do.


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             1.     Named Plan Fiduciaries, in Selecting and Retaining
                    Defendant Investment Fiduciaries, Did Not Follow the Plan’s
                    Investment Policy Statement.

      334. The Plan’s Investment Policy Statement provided that “[t]he

Administrative Committee will evaluate investment managers” and that “manager[s]

will be reevaluated [in case of] [m]isconduct, misrepresentation or lapse in

integrity.” A copy of the Plan’s Investment Policy Statement, as amended, is

attached as Exhibit 3.

      335. Fiduciaries did not possess a viable, documented process and

methodology for prudent and skilled selection and monitoring of either the Plan’s

investments and related expenses, or the Defendant Investment Fiduciaries and their

affiliates. Nor did they follow the terms of the Plan or Investment Policy Statement

in selecting and retaining Defendant Investment Fiduciaries and their affiliates.

      336. At all relevant times during the Class Period, Named Plan Fiduciaries

selected and, within six years of the filing of this action, retained Defendant

Investment Fiduciaries, and their affiliates and representatives, including Sean P.

Waggoner (“Waggoner”) and James E. Bashaw & Co. (“Bashaw”), both to provide

investment advice to the Plan and Plan participants and to draft the Plan’s Investment

Policy Statement.

      337. Named Plan Fiduciaries, however, admittedly failed to prudently

investigate Waggoner and the Defendant Investment Fiduciaries before directing


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payments to them.

         338. Named Plan Fiduciaries caused the Plan to alienate Trust assets through

the payment of excessive fees to Defendant Investment Fiduciaries, especially

because Defendant Investment Fiduciaries were serving only as “pass-through”

entities and, therefore, their services were not necessary for the operation of the plan.

         339. Further, Named Plan Fiduciaries intentionally ignored and concealed

from participants information that they knew or should have known proving that

Waggoner and Defendant Investment Fiduciaries were both tainted by conflicts of

interest and was otherwise incompetent to provide investment services to the Plan.

               2.    Incompetence of Defendant Investment Fiduciaries

         340. At all relevant times during the Class Period, Named Plan Fiduciaries

knew or should have known that AIS was never licensed as a Registered Investment

Adviser (“RIA”) with SEC. Similarly, ARC was not licensed as an RIA with the

SEC prior to 2013.

         341. Competency as an ERISA § 3(38) investment manager, at a minimum,

required AIS and ARC to be licensed as an RIA and registered with the SEC at all

times.

         342. At relevant times during the Class Period, Named Plan Fiduciaries also

knew or should have known that Waggoner, despite his misrepresentation, was not

affiliated with Alliant. Rather, his investment advisor license was with LPL or


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Bashaw for much of this time. Named Plan Fiduciaries, nevertheless, misrepresented

to Plan participants which RIA was servicing the Plan.

      343. At relevant times during the Class Period, Named Plan Fiduciaries also

knowingly allowed LPL and Bashaw to receive compensation even though neither

was specifically hired by Named Plan Fiduciaries to serve the plan and participants.

      344. Upon information and belief, Named Plan Fiduciaries knew or should

have known that Bashaw was a flow through or “shell” company that served as a

pass-through firm to pay both James Bashaw and Waggoner individually.

      345. Plan participants knew or should have known all of this information

about Waggoner, Bashaw, and the Defendant Investment Fiduciaries because the

Administrative Committee, in light of multiple class action lawsuits then filed

alleging Waggoner’s wrongdoing, actively investigated his qualifications during the

Class Period beginning in late 2016.

      346. In light of this investigation, Named Plan Fiduciaries also knew or

should have known through their review of the funds’ prospectuses and fee

disclosures that Waggoner, Bashaw, and the Defendant Investment Fiduciaries

received significant indirect compensation, including but not limited to finder’s fees,

SEC Rule 12b-1 and/or “sub-transfer agency” fees, and soft dollar pay, and large

bonuses, through revenue sharing agreements with Prudential and also through their

recommendations of funds to the Plan for inclusion in the investment fund menu.


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      347. Named Plan Fiduciaries even caused Bashaw and ARS to be paid out

of Plan assets for identical services each supposedly provided to the Plan. Doing so

rendered their receipt of Plan assets unreasonable and excessive under ERISA as

well as a prohibited transaction.

      348. Based on their record of ERISA and security violations, Waggoner,

Bashaw, and the Defendant Investment Fiduciaries were self-interested and

otherwise not qualified to recommend investment advice to the Plan and Plan

participants.

      349. In violating their fiduciary duties under ERISA, Named Plan

Fiduciaries failed to ensure that Waggoner, Bashaw, and the Defendant Investment

Fiduciaries offered independent and impartial advice.

      350. Named Plan Fiduciaries’ actions with respect to Waggoner and

Defendant Investment Fiduciaries caused the Plan to violate the terms of the Plan

and its Investment Policy Statement.

      351. Named Plan Fiduciaries’ lack of oversight and inappropriate delegation

of compensation to Waggoner, Prudential, and Defendant Investment Fiduciaries

allowed for the overcharging of recordkeeping expenses for years and enabled the

continued use of expensive and imprudent funds and share classes.

      352. Named Plan Fiduciaries’ authorization and/or ratification of the

revenue sharing agreements among Prudential, Waggoner, and Defendant


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Investment Fiduciaries effectively decreased the accrued benefits of Plan

participants and, in doing so, violated the Internal Revenue Code and ERISA.

             3.     Defendant Investment Fiduciaries and Prudential Breached
                    Their ERISA Obligations to the Plan.

      353. At all relevant times during the Class Period, Named Plan Fiduciaries

and Defendant Investment Fiduciaries did not monitor the performance of the

investment portfolios for the Plan in and outside GoalMaker to determine whether

they performed as expected.

      354. Named Plan Fiduciaries were entitled to contemporaneous advice from

Defendant Investment Fiduciaries on whether the funds were performing in

accordance with expectations.

      355. Defendant Investment Fiduciaries, however, failed to provide the

information that Named Plan Fiduciaries needed to have to perform timely review

and monitoring of the investment portfolios.

      356. Defendant Investment Fiduciaries knew or should have known that, by

failing to provide this information, they placed Named Plan Fiduciaries in a position

which would prohibit them from discharging their fiduciary duties to the Plan and

the participants.

      357. Likewise, Prudential did not provide the requisite benchmarking

information sufficient to compare the performance of the GoalMaker portfolios to

the performance of equivalent target date funds.

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      358. Named Plan Fiduciaries’ belated decision to replace imprudent funds

in and outside GoalMaker with similarly or better performing, lower cost alternative

funds cost the Plan and Plan participants in excess of $50 million.

      E.     Named Plan Fiduciaries Failed to Disclose to Participants the
             Information They Needed to Make Informed Investment
             Decisions.

      359. Plan administrators have a duty to provide participants with material

information respecting the plan, investment options and fees and expenses, on a

regular basis.

      360. Under ERISA’s “exclusive benefit rule,” plan fiduciaries have

affirmative duty to disclose material facts to participants and beneficiaries when they

know, as Named Plan Fiduciaries did here, that silence might be harmful, including

a duty to disclose any and all conflicts of interest. ERISA §§ 404(a)(1)(A), 502(a)(2),

29 U.S.C.A. §§ 1104(a)(1)(A), 1132(a)(3); Restatement (Second) Trusts § 173

comment.

      361. “[A]n ERISA participant has a right to accurate information, and that

an ERISA administrator’s withholding of information may give rise to a cause of

action for breach of fiduciary duty.” Jones v. American General Life and Accident

Insurance Co., 370 F.3d 1065, 1072 (11th Cir. 2004) (citation omitted).

      362. Importantly, Plaintiffs do not allege that Named Plan Fiduciaries

withheld non-public, “inside,” information. Rather, Plaintiffs allege that Named


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Plan Fiduciaries failed to disclose the excessive fees being charged participants, as

well as their own imprudent practices and methodology in administering the Plan.

      363. Named Plan Fiduciaries had a fiduciary obligation “to deal fairly and

to communicate to the [participants] all material facts” it knew or should have known

respecting their investments. See Restatement (Third) of Trusts § 78; see also Jones,

370 F.3d at 1072.

      364. This duty required Named Plan Fiduciaries to clearly disclose all

revenue sharing arrangements and other indirect compensation arrangements with

Plan service providers to Plan participants, separate and apart from the disclosure of

investment management and recordkeeping fees.

      365. When recordkeeping and other service provider fees are bundled or

commingled, as was the case here, Plan fiduciaries must ensure that the bundled

service provider give a good faith estimate of the breakdown. This Named Plan

Fiduciaries did not do. Instead, Named Plan Fiduciaries misled participants about

and intentionally concealed from them the excessive fees being charged.

      366. The disclosures Named Plan Fiduciaries did provide to participants

consisted of incomplete and vague boilerplate furnished by the very same service

providers that benefitted from the excessive fees and kickbacks.

      367. To compound their breaches of duty under ERISA, Named Plan

Fiduciaries intentionally misrepresented to and concealed from the DOL, IRS, and


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Plan participants the fact that Waggoner and the Defendant Investment Fiduciaries,

at all times during the Class Period, were not licensed as RIAs and registered with

the SEC.

      368. Named Plan Fiduciaries also misrepresented to the IRS, DOL, and Plan

participants that Waggoner, at all relevant times during the Class Period was licensed

as an investment advisor for AIS and ARC when, in actuality, he was not.

      369. Named Plan Fiduciaries also intentionally concealed from the IRS,

DOL, and Plan participants that Waggoner was licensed to work as an investment

advisor for Bashaw. Indeed, Named Plan Fiduciaries knew or should have known

that Bashaw also had a record of disciplinary actions, including securities and

ERISA violations, such as conflicts of interest and breaches of fiduciary duty, dating

back to 1988. In fact, LPL terminated Bashaw in 2014 for participating in private

securities transactions without providing written disclosure to and obtaining written

approval from the firm, improper borrowing from a client, and engaging in self-

interested transactions – facts which Named Plan Fiduciaries concealed from Plan

participants.

      370. Similarly, Named Plan Fiduciaries concealed from Plan participants

their knowledge that, in June 2017, LPL terminated Waggoner for multiple instances

of wrongdoing. They further concealed from Plan participants their knowledge that,

while he performed services for them and the Plan, Waggoner violated multiple


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NASD and FINRA rules and was investigated for such violations.

      371. Plan participants likewise concealed from Plan participants their

knowledge that Waggoner, after he left LPL, was suspended by FINRA and the

Insurance Commissioner of the State of California for additional wrongdoing.

      372. Plan participants further concealed from Plan participants the fact that

Waggoner failed to register as an investment advisor with the State of Georgia, in

violation of the mandatory registration required under O.C.G.A. § 10-5-33.

      373. Named Plan Fiduciaries affirmatively concealed these conflicts of

interest from participants and, in doing so, put Waggoner’s, Prudential’s, and

Defendant Investment Fiduciaries’ financial interests ahead of the Plan and Plan

participants, to the detriment of the Plan and Plan participants.

      374. In making these misrepresentations and concealing the true information

about Bashaw, Waggoner, and Defendant Investment Fiduciaries from Plan

participants, Named Plan Fiduciaries purposely led participants into a false belief

that their investments in the Plan were prudent, secure, untainted by self-interest,

and cost-efficient when, in reality, they were not.

      375. Named Plan Fiduciaries’ concealments, misrepresentation, and their

selection and continued retention of Waggoner, Bashaw, and Defendant Investment

Fiduciaries violated DOL guidelines, which provide that: (i) when selecting a service

provider, “a plan fiduciary must engage in an objective process”; (ii) such a process


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must be “designed to elicit information necessary to assess the qualifications of the

service provider, the quality of the work product, and the reasonableness of the fees

charged in light of the services provided”; and (iii) “such process should be designed

to avoid self-dealing, conflicts of interest or other improper influence.” See

https://www.dol.gov/agencies/ebsa/employers-and-advisers/guidance/field-

assistance-bulletins/2002-03.

      376. To conceal these revenue sharing arrangements from Plan participants,

Named Plan Fiduciaries falsified Form 5500s to indicate that there were no

prohibited transactions or transactions with related entities.

      377. To further conceal the revenue sharing arrangements from Plan

participants, Named Plan Fiduciaries amended the Plan’s Investment Policy

Statement to allow the primary criteria for selection and removal of a registered

security in the Plan to be based on “past performance.” Doing so violated SEC Rule

156 and 17 C.F.R. § 230.156, deeming it misleading to convey to an investor that a

mutual fund’s past performance can predict future performance.

      378. Amending the Investment Policy Statement further resulted in a cycle

of Named Plan Fiduciaries: (i) repeatedly approving/adding new funds; (ii) forcing

participants/beneficiaries’ money into the new funds; (iii) watching the fund

underperform; and (iv) making excuses for their lagging returns or ultimately

removing the fund from the Plan’s portfolio.


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      379. At all relevant times during the Class Period, Named Plan Fiduciaries

told participants that GoalMaker, based on objective, scientific models developed

by the investment research and management firm Morningstar, would take into

account the historic returns of different asset class and invest participants’

contributions in a portfolio that matched their unique investor style and years to

retirement. Named Plan Fiduciaries did not disclose to participants and beneficiaries

that Morningstar disclaimed all responsibility for the GoalMaker service.

      380. Named Plan Fiduciaries did not disclose the indirect compensation that

Prudential and the Trustee derived from having the Prudential GIC in GoalMaker,

or the fact that Prudential could earn a return from any investment earnings on assets

above the interest credited to investors.

      381. Named Plan Fiduciaries also did not disclose the indirect compensation

that Defendants derived from having the revenue sharing funds in and outside

GoalMaker.

      382. As a result of their failure to make proper disclosures to participants,

and because of their affirmative misrepresentations about the competence of

Defendant Investment Fiduciaries and the conflicts of interest all Defendants had,

Named Plan Fiduciaries’ wasting of Plan assets went unchecked, costing the

participants millions of dollars in retirement savings.




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      F.     The Damage Done

      383. A plan fiduciary that breaches any of the duties and obligations imposed

by ERISA is liable to make the plan whole for all losses resulting from the breach.

29 U.S.C § 1109. The “remedy in cases of breach of fiduciary duty is the restoration

of the trust beneficiaries to the position they would have occupied but for the breach

of trust.” Donovan v. Bierwirth, 754 F.2d 1049, 1056 (2d Cir. 1985) (citing

Restatement (Second) of Trusts § 205(c) (1959)).

      384. Under ERISA, losses are measured according to “the ‘total return’

measure of loss and damages for breach of trust.” Brotherston v. Putnam Invs.,

L.L.C., 907 F.3d 17, 31 (1st Cir. 2018) (citing Restatement (Third) of Trusts § 100).

Thus, the recoverable loss is the amount necessary to restore to the plan to the value

it would have had if the plan’s assets had been properly administered. Id. (citing

Restatement (Third) of Trusts § 100).

      385. Specifically, the calculation of loss “requires a comparison between the

actual performance of the Plan and the performance that otherwise would have taken

place.” See Bierwirth, 754 F.2d at 1057.

      386. In calculating losses, district courts should presume that the plan’s

funds would have been used in the most profitable of any reasonable and alternative

investment strategies. Bierwirth, 754 F.2d at 1056.

      387. “When precise [loss] calculations are impractical, trial courts are


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permitted significant leeway in calculating a reasonable approximation of the

damages suffered....    Any doubt or ambiguity should be resolved against the

breaching fiduciaries.” Id. (citations omitted).

      388. Here participants’ losses continue to compound at the rate their

investments would have earned had they been prudently invested. The Restatement

(Third) of Trusts “specifically identifies as an appropriate comparator for loss

calculation purposes ‘return rates of one or more ... suitable index mutual funds or

market indexes (with such adjustments as may be appropriate).’” Brotherston, 907

F.3d at 31 (quoting Restatement (Third) of Trusts, § 100 cmt. b (1)).

      389. Plaintiffs estimate that the losses suffered by them, the Plan, and the

rest of the class exceeds $50 million.

                           VI.   CAUSES OF ACTION

                                   COUNT I
                Violation of 29 U.S.C. §§ 1104(a)(1)(B) and 1105
                            (Against all Defendants)
      390. Plaintiffs re-allege and incorporate in Count I the allegations in

paragraphs 1 through 389 above.

      391. ERISA mandates that fiduciaries act with prudence in the disposition

of Plan assets and selection and monitoring of investments, as well as in the

monitoring and minimization of administrative expenses. 29 U.S.C. § 1104(a)(1)(B).

      392. In determining whether an ERISA fiduciary breached its duty of


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prudence, courts focus on

      whether the fiduciary engaged in a reasoned decision-making process,
      consistent with that of a prudent man acting in a like capacity.......
      ERISA requires fiduciaries to employ appropriate methods to
      investigate the merits of the investment and to structure the investment
      as well as to engage in a reasoned decision-making process, consistent
      with that of a prudent man acting in a like capacity.

Tatum v. RJR Pension Inv. Comm., YZ[ F.\d \]Z, \^Z-^_ (]th Cir. `a[]). Accord Fifth

Third Bancorp v. Dudenhoeffer, ^Y\ U.S. ]ab (`a[]).

      393. In addition to a duty to select prudent investments, under ERISA a

fiduciary “has a continuing duty to monitor [plan] investments and remove

imprudent ones” that exists “separate and apart from the [fiduciary’s] duty to

exercise prudence in selecting investments.” Tibble, 575 U.S. 523. To satisfy its

duties under ERISA, a fiduciary simply may not argue that other funds, in

combination, theoretically create a prudent portfolio. DiFelice v. U.S. Airways, Inc.,

497 F.3d 410, 418 n.3, 423–24 (4th Cir. 2007).

      394. At all relevant times, Defendants were named and/or de facto

fiduciaries of the Plan within the meaning of ERISA insofar that they exercised

discretionary authority or control over the administration and/or management of the

Plan or disposition of the Plan’s assets.

      395. At all relevant times during the Class Period, Rollins and the

Administrative Committee, when selecting and retaining the Plan’s investment

lineup, deciding which funds to populate the Plan, and retaining Prudential, the

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Trustee, and Defendant Investment Fiduciaries rather than soliciting requests for

proposal, were ERISA fiduciaries.

      396. At all relevant times during the Class Period, Prudential, in

recommending the Prudential GIC to Named Plan Fiduciaries for valuable

consideration, and in exercising discretion and control over rebates and other Plan

assets instead of returning them to the Plan and/or Plan participants, and in having

sufficient influence over Named Plan Fiduciaries with respect to their selection of

investment options for the Plan, was an ERISA fiduciary.

      397. At all relevant times during the Class Period, Defendant Investment

Fiduciaries, in recommending investment options to the Plan for valuable

consideration, in recommending investment managers and subaccount managers for

the Plan to Plan fiduciaries, and in having sufficient influence over Named Plan

Fiduciaries with respect to their selection of investment options for the Plan, was an

ERISA fiduciary.

      398. At all relevant times during the Class Period, the Trustee, having

residual fiduciary responsibility for determining whether a given direction is proper

and whether following the direction would result in a violation of ERISA, and in

heeding the directions of Named Plan Fiduciaries with respect to the payment of

unreasonable and unnecessary fees and expenses to Prudential and Defendant

Investment Fiduciaries, was an ERISA fiduciary.


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      399. As fiduciaries of the Plan, Defendants were subject to the ERISA’s duty

of prudence.

      400. Defendants breached this fiduciary duty in multiple respects as

discussed throughout this Amended Complaint. They did not make decisions

regarding the Plan’s investment lineup based solely on the merits of each investment

and what was in the interest of Plan participants. Instead, Defendants selected and

retained investment options in the Plan despite the high cost of the funds in relation

to other comparable investments. Likewise, Defendants failed to monitor or control

the grossly excessive compensation paid for recordkeeping services. Moreover,

Defendants failed to investigate the competence of and periodically monitor

Prudential and the Defendant Investment Fiduciaries, which they had selected to

provide services to the Plan and Plan participants.

      401. Based on reasonable inferences from the facts set forth in this Amended

Complaint, at all relevant times during Class Period, Named Plan Fiduciaries failed

to have a proper system of review in place to ensure that: (a) participants in the Plan

were being charged appropriate and reasonable fees for the Plan’s third-party service

providers; (b) their selection and retention of investment options were prudent; (c)

Prudential, the Trustee, and Defendant Investment Fiduciaries were competent and

free from self-interest; (d) and that Plan expenses were reasonable and necessary;

and (e) they placed the interests of Plan participants and beneficiaries over the


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interests of Prudential, Defendant Investment Fiduciaries, and themselves.

Additionally, Named Plan Fiduciaries failed to leverage the size of the Plan to

negotiate lower expense ratios for certain investment options maintained and/or

added to the Plan during the Class Period.

      402. At all relevant times during the Class Period, Defendants did not have

adequate procedures in place to monitor Plan service providers and investments and

did not act in the best interests of the Plan participants.

      403. The United States Supreme Court held in Tibble that “[u]nder trust law,

a trustee has a continuing duty to monitor trust investments and remove imprudent

ones ... separate and apart from the trustee’s duty to exercise prudence in selecting

investments at the outset.” 575 U.S. at 529. “The trustee must systematically

consider all the investments of the trust at regular intervals to ensure that they are

appropriate.” Id.

      404. Thus, to discharge this duty, Named Plan Fiduciaries must have had a

prudent process and method for selecting, monitoring and retaining prudent, cost-

effective investments for the Plan, and for removing imprudent investments. As set

forth below, this the Named Plan Fiduciaries here did not have.

      405. Plan fiduciaries are held to a “high standard of care and diligence” and

must: (1) “establish a prudent process for selecting investment options and service

providers;” (2) “ensure that fees paid to service providers and other expenses of the


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plan are reasonable in light of the of level and quality of services provided;” and (3)

“monitor investment options and service providers once selected to see that they

continue to be appropriate choices,” among other duties. See A Look at Fee, supra.

      406. Prudence requires plan fiduciaries to monitor both the performance and

cost of the investments selected for their 401(k) plans, leveraging the size of their

plan to ensure that well-performing, lower cost investment options are available to

plan participants.

      407. Likewise, Named Plan Fiduciaries must be continually mindful of the

performance and cost of plan investment options to avoid undue risk to plan

participants’ savings and to ensure that any fees paid are reasonable compensation

for the services provided. This includes fees from any plan service provider,

including the plan fiduciaries themselves.

      408. Named Plan Fiduciaries must also be wary of conflicts of interest that

arise when plan administrators and other fiduciaries select investment options for

the plan which include a remittance of a fee to the Plan sponsor, administrator, or

investment advisor, or another party otherwise affiliated with the Plan sponsor.

      409. Given the vulnerability of plan participants, who are dependent on the

retirement income earned by their plan investment choices, Named Plan Fiduciaries

also must be particularly vigilant about evaluating whether lower-expense share

classes are available to participants.


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      410. Named Plan Fiduciaries had a fiduciary duty to monitor and evaluate

the performance of the Plan's investments they selected and retained in GoalMaker,

and to remove and replace imprudent investments.

      411. Named Plan Fiduciaries did not have a prudent process for monitoring

and evaluating the performance of the Plan's investments.

      412. At all relevant times during the Class Period, the Plan's mutual funds

significantly underperformed their benchmarks and Vanguard comparables.

      413. If Named Plan Fiduciaries had monitored and evaluated the

performance of the Plan's mutual funds, it would have known that those funds were

consistently underperforming both their benchmarks and comparable index funds.

Named Plan Fiduciaries did not know about, did not correct, and did not prevent, the

resulting losses to Plan participants.

      414. As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan and Plan participants suffered over $50 million in losses.

      415. Had Defendants complied with their fiduciary obligations, the Plan and

Plan participants would not have suffered these losses, and Plan participants would

have had more money available to them for their retirement.

      416. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants are liable

to restore to the Plan all losses caused by their breaches of fiduciary duties, and also

must restore any profits resulting from such breaches.


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      417. In addition, Plaintiffs are entitled to equitable relief under 29 U.S.C. §

1132(a)(3) and other appropriate relief as set forth in their Prayer for Relief.

      418. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

another fiduciary of the same plan’s breach: (A) if he participates knowingly in, or

knowingly undertakes to conceal, an act or omission of such other fiduciary,

knowing such an act or omission is a breach; (B) if he has enabled such other

fiduciary to commit a breach; or (C) if he has knowledge of a breach by such other

fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.

      419. Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit breaches by failing to lawfully discharge such Defendant’s own duties, and

knew of the breaches by the other Defendants and failed to make any reasonable and

timely effort under the circumstances to remedy the breaches. Accordingly, each

Defendant is also liable for the breaches of its co-fiduciaries under 29 U.S.C. §

1105(a).

                                   COUNT II
                Violation of 29 U.S.C. §§ 1104(a)(1)(A) and 1105
                            (Against all Defendants)

      420. Plaintiffs re-allege and incorporate in Count II the allegations in

paragraphs 1 through 389 above.


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      421. ERISA fiduciaries owe a duty of loyalty. 29 U.S.C. § 1104(a)(1)(A).

The duty of loyalty requires fiduciaries to act with an “eye single” to the interests of

plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000). “Perhaps the most

fundamental duty of a [fiduciary] is that he [or she] must display…complete loyalty

to the interests of the beneficiary and must exclude all selfish interest and all

consideration of the interests of third persons.” Id. at 224 (quotation marks and

citations omitted).

      422. “Thus, in deciding whether and to what extent to invest in a particular

investment, a fiduciary must ordinarily consider only factors relating to the interests

of plan participants and beneficiaries in their retirement income. A decision to make

an investment may not be influenced by non-economic factors unless the investment,

when judged solely on the basis of its economic value to the plan, would be equal or

superior to alternative investments available to the plan.” U.S. Dep’t of Labor

ERISA Adv. Op. 88-16A (Dec. 19, 1988).

      423. At all relevant times, Defendants were named and/or de facto

fiduciaries of the Plan within the meaning of ERISA insofar that they exercised

discretionary authority or control over the administration and/or management of the

Plan or disposition of the Plan’s assets.

      424. At all relevant times during the Class Period, Rollins, the

Administrative Committee, and its individual members, when selecting and


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retaining the Plan’s investment lineup, deciding which funds to populate GoalMaker,

and retaining Prudential and Defendant Investment Fiduciaries rather than soliciting

requests for proposal, were ERISA fiduciaries.

      425. At all relevant times during the Class Period, Prudential, in

recommending the Prudential GIC to Named Plan Fiduciaries for valuable

consideration, and in exercising discretion and control over rebates and other Plan

assets instead of returning them to the Plan and/or Plan participants, and in having

sufficient influence over Named Plan Fiduciaries with respect to their selection of

investment options for the Plan, was an ERISA fiduciary.

      426. At all relevant times during the Class Period, Defendant Investment

Fiduciaries, in recommending investment options to the Plan for valuable

consideration, in recommending investment managers and subaccount managers for

the Plan to Plan fiduciaries, and in having sufficient influence over Named Plan

Fiduciaries with respect to their selection of investment options for the Plan, was an

ERISA fiduciary.

      427. At all relevant times during the Class Period, the Trustee, having

residual fiduciary responsibility for determining whether a given direction is proper

and whether following the direction would result in a violation of ERISA, and in

heeding the directions of Named Plan Fiduciaries with respect to the payment of

unreasonable and unnecessary fees and expenses to Prudential and Defendant


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Investment Fiduciaries, was an ERISA fiduciary.

      428. As fiduciaries of the Plan, Defendants were subject to the ERISA’s duty

of loyalty.

      429. Defendants breached their fiduciary duty of loyalty in multiple respects

as discussed throughout this Amended Complaint. At all relevant times during the

Class Period, Defendants made investment decisions and/or provided investment

advice and/or managed Plan assets while tainted with self-interest.

      430. At all relevant times during the Class Period, Named Plan Fiduciaries

put the interests of Prudential and Defendant Investment Fiduciaries ahead of those

of the Plan and Plan participants by choosing investment products and pension plan

services offered by Prudential and Defendant Investment Fiduciaries and managed

by Defendant Investment Fiduciaries and affiliates, which generated substantial

revenues for Prudential, the Trustee, and Defendant Investment Fiduciaries, at great

cost to the Plan and Plan participants.

      431. Investment fund options chosen for a plan should not favor the fund

provider over the plan’s participants. Yet here, to the detriment of the Plan and its

participants and beneficiaries, the Plan’s fiduciaries endorsed and affirmatively

concealed from participants and beneficiaries Prudential ‘s selling agreements with

default investment funds in the Plan, revenue sharing agreements between

Prudential, the Trustee, and Defendant Investment Fiduciaries, and their own


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conflicts of interest. As a result, Plan participants were unaware of the excessive

and unreasonable fees secretly charged to their accounts by Prudential and

Defendant Investment Fiduciaries.

      432. As a result of their conflicts of interest, Named Plan Fiduciaries

selected and retained in the Plan many investment funds that were more expensive

than necessary and otherwise were not justified on the basis of their historical

performance. Named Plan Fiduciaries, moreover, hid these facts and the conflicts

of interests Prudential Defendant Investment Fiduciaries from the DOL, IRS, and

Plan participants and beneficiaries.

      433. As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan and Plan participants suffered over $50 million in losses.

      434. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants are liable

to restore to the Plan all losses caused by their failure to adequately monitor the

Committee Defendants.

      435. In addition, Plaintiffs are entitled to equitable relief under 29 U.S.C. §

1132(a)(3) and other appropriate relief as set forth in their Prayer for Relief.

      436. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

another fiduciary of the same plan’s breach: (A) if he participates knowingly in, or

knowingly undertakes to conceal, an act or omission of such other fiduciary,

knowing such an act or omission is a breach; (B) if he has enabled such other


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fiduciary to commit a breach; or (C) if he has knowledge of a breach by such other

fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.

      437. Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit breaches by failing to lawfully discharge such Defendant’s own duties, and

knew of the breaches by the other Defendants and failed to make any reasonable and

timely effort under the circumstances to remedy the breaches. Accordingly, each

Defendant is also liable for the breaches of its co-fiduciaries under 29 U.S.C. §

1105(a).

                                 COUNT III
              Failure to Monitor Other Named Plan Fiduciaries
(Against Rollins, the Administrative Committee and Its Individual Members)

      438. Plaintiffs restate and incorporate in Count III the allegations in alleged

in paragraphs 1 through 389 above.

      439. Defendants each had the authority to appoint and remove members of

the Committee.

      440. Defendants also each had the authority to select service providers for

the Plan.

      441. In light of this authority, Defendants each was a fiduciary of the Plan.

      442. As the appointing/selecting fiduciaries, Defendants had a duty to


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monitor their appointees and providers they selected to ensure that they were

adequately performing their fiduciary obligations, and to take prompt and effective

action to protect the Plan in the event that they were not fulfilling those duties.

      443. Defendants also had a duty to ensure that their appointees and Plan

service providers they selected and retained possessed the needed qualifications and

experience to carry out their duties (or used qualified advisors and service providers

to fulfill their duties); had adequate financial resources and information; and

maintained adequate records of the information on which they based their decisions

and analysis with respect to the Plan’s investments.

      444. Defendants breached their fiduciary monitoring duties by, among other

things:

          a. Failing to monitor and evaluate the performance of their appointees and

             Plan service providers, or have a system in place for doing so, standing

             idly by as the Plan and Plan participants suffered significant losses as a

             result of their imprudent actions and omissions;

          b. Failing to monitor the processes by which Plan investments were

             evaluated, and failing to investigate the availability of lower-cost

             separate account and collective trust vehicles; and

          c. Failing to remove Committee members and service providers who were

             incompetent, who charged excessive fees, and/or whose performance


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           was inadequate.

      445. As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan and Plan participants suffered over $50 million in losses.

      446. Had Defendants complied with their fiduciary obligations, the Plan and

Plan participants would not have suffered these losses, and Plan participants would

have had more money available to them for their retirement.

      447. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants are liable

to restore to the Plan all losses caused by their failure to monitor.

      448. In addition, Plaintiffs are entitled to equitable relief under 29 U.S.C. §

1132(a)(3) and other appropriate relief as set forth in their Prayer for Relief.

      449. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

another fiduciary of the same plan’s breach: (A) if he participates knowingly in, or

knowingly undertakes to conceal, an act or omission of such other fiduciary,

knowing such an act or omission is a breach; (B) if he has enabled such other

fiduciary to commit a breach; or (C) if he has knowledge of a breach by such other

fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.

      450. Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit breaches by failing to lawfully discharge such Defendant’s own duties, and


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knew of the breaches by the other Defendants and failed to make any reasonable and

timely effort under the circumstances to remedy the breaches. Accordingly, each

Defendant is also liable for the breaches of its co-fiduciaries under 29 U.S.C. §

1105(a).

                                COUNT IV
Failure to Follow Terms of the Plan in Violation of 29 U.S.C. § 1104(a)(1)(D)
(Against the Named Plan Fiduciaries and Defendant Investment Fiduciaries)

      451. Plaintiffs restate and incorporate in Count IV the allegations in alleged

in paragraphs 1 through 389 above.

      452. A fiduciary must discharge his duties “in accordance with the

documents and instruments governing the plan insofar as such documents and

instruments are consistent with the provisions” of ERISA. ERISA § 404(a)(1)(D).

These documents include the Plan’s investment management agreements and any

investment guidelines.

      453. At all relevant times, Defendants were named and/or de facto

fiduciaries of the Plan within the meaning of ERISA insofar that they exercised

discretionary authority or control over the administration and/or management of the

Plan or disposition of the Plan’s assets.

      454. At all relevant times during the Class Period, Rollins, the

Administrative Committee, and its individual members, when selecting and

retaining the Plan’s investment lineup, deciding which funds to populate GoalMaker,


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and retaining Prudential and Defendant Investment Fiduciaries rather than soliciting

requests for proposal, were ERISA fiduciaries.

      455. At all relevant times during the Class Period, Defendant Investment

Fiduciaries, in recommending investment options to the Plan for valuable

consideration, in recommending investment managers and subaccount managers for

the Plan to Plan fiduciaries, and in having sufficient influence over Named Plan

Fiduciaries with respect to their selection of investment options for the Plan, was an

ERISA fiduciary.

      456. Defendants were fiduciaries subject to ERISA § 404(a)(1)(D).

      457. The Plan required each investment manager to “certify it is qualified to

act as an ‘investment manager’ within the meaning of ERISA Section 3(38)[.]” (See

the Plan, Exh. 1, § 7.8(a).) This the Named Plan Fiduciaries and Defendant

Investment Fiduciaries did not (and factually could not) do.

      458. The Plan required the Named Plan Fiduciaries to make sure Plan

expenses were reasonable. This the Named Plan Fiduciaries did not do.

      459. Given their many violations alleged above, in directly and/or indirectly

causing the Plan and Plan participants to pay unreasonable and unnecessary

investment and administrative expenses, and in participating in transactions causing

those expenditures, Defendants violated the terms of the Plan, Trust Agreement, and

Investment Policy statement.


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      460. A fiduciary can ensure that directions are proper and not contrary to

ERISA if it follows procedures to ensure that the plan’s provisions are fairly

implemented, that participants have not been subjected to coercion or undue pressure

in making their decisions, that necessary information is provided to participants, and

that clearly false information is not disseminated, and if it determines that following

the direction would not violate ERISA.

      461. As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan and Plan participants suffered over $50 million in losses.

      462. Had Defendants complied with their fiduciary obligations, the Plan and

Plan participants would not have suffered these losses, and Plan participants would

have had more money available to them for their retirement.

      463. In addition, Plaintiffs are entitled to equitable relief under 29 U.S.C. §

1132(a)(3) and other appropriate relief as set forth in their Prayer for Relief.

      464. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

another fiduciary of the same plan’s breach: (A) if he participates knowingly in, or

knowingly undertakes to conceal, an act or omission of such other fiduciary,

knowing such an act or omission is a breach; (B) if he has enabled such other

fiduciary to commit a breach; or (C) if he has knowledge of a breach by such other

fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.


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       465. Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit breaches by failing to lawfully discharge such Defendant’s own duties, and

knew of the breaches by the other Defendants and failed to make any reasonable and

timely effort under the circumstances to remedy the breaches. Accordingly, each

Defendant is also liable for the breaches of its co-fiduciaries under 29 U.S.C. §

1105(a).

                                 COUNT V
     Action Based on Prohibited Transactions in Violation of 29 U.S.C. §§
                             1106(a)(1)(C), (D)
                         (Against All Defendants)

       466. Plaintiffs restate and incorporate in Count V the allegations in alleged

in paragraphs 1 through 389 above.

       467. ERISA § 406(a)(1), 29 U.S.C. § 1106(a)(1), provides, in pertinent part,

that “a fiduciary with respect to a plan shall not cause the plan to engage in a

transaction, if he knows or should know that such transaction constitutes a direct or

indirect . . . (C) furnishing of goods, services, or facilities between the plan and a

party in interest; [or] (D) transfer to, or use by or for the benefit of, a party in interest,

of any assets of the plan and a party in interest.”

       468. ERISA § 3(14), 29 U.S.C. § 1002(14), defines a “party in interest” to

include (A) “any fiduciary . . . of such employee benefit plan;” (B) “a person

providing services to such plan;” (C) “an employer any of whose employees are

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covered by such plan,” and “(H) any employee, officer, or director of such

employer.”

      469. ERISA § 3(9), 29 U.S.C. § 1002(9) defines “person” as “an individual,

partnership, joint venture, corporation, mutual company, joint-stock company, trust,

estate, unincorporated organization, association, or employee organization.”

      470. Certain exemptions are made where the party-in-interest is paid “no

more than reasonable compensation,” 29 U.S.C. § 1108(b)(2), but “an ERISA

plaintiff need not plead the absence of exemptions to prohibited transactions. It is

the defendant who bears the burden of proving a section 408 exemption....” Allen v.

GreatBanc Trust Co., 835 F. 3d 670, 676 (7th Cir. 2016) (citations omitted).

      471. Each of Defendants is or was both a fiduciary and a party-in-interest

subject to ERISA § 406(a)(1)(C), (D).

      472. At all relevant times during the Class Period, Defendants improperly

caused the Plan to engage in a transaction that they knew or should have known

constituted a direct or indirect furnishing of goods, services, or facilities between the

plan and a party in interest in violation of ERISA § 406(a)(1)(C).

      473. At all relevant times during the Class Period, Defendants improperly

caused the Plan to engage in a transaction that they knew or should have known

constituted a direct or indirect transfer of Plan assets to and use by a party in interest

in violation of ERISA § 406(a)(1)(D).


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      474. To the extent any of them are not fiduciaries, Defendants, as parties-in-

interest, may be held liable for knowing participation in these violations of ERISA

§§ 406(a)(1)(C) and (D) pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3)

regardless of whether they were ERISA fiduciaries.

      475. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants, as

fiduciaries to the Plan, are liable to restore to the Plan all losses caused by their

violations of ERISA §§ 406(a)(1)(C) and (D).

                               COUNT VI
Action Based on Prohibited Transactions in Violation of 29 U.S.C. §§ 1106(b)
                         (Against All Defendants)

      476. Plaintiffs restate and incorporate in Count VI the allegations in alleged

in paragraphs 1 through 389 above.

      477. ERISA § 406(b), 29 U.S.C. § 1106(b), provides: “A fiduciary with

respect to a plan shall not—

      (1) deal with the assets of the plan in his own interest or for his own account,

      (2) in his individual or in any other capacity act in any transaction involving

      the plan on behalf of a party (or represent a party) whose interests are adverse

      to the interests of the plan or the interests of its participants or beneficiaries,

      or

      (3) receive any consideration for his own personal account from any party

      dealing with such plan in connection with a transaction involving the assets


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        of the plan.

        478. Each of Defendants is or was both a fiduciary and a party-in-interest

subject to ERISA § 406(b).

        479. Certain exemptions are made to some of ERISA’s prohibited action

rules where the party-in-interest is paid “no more than reasonable compensation,”

29 U.S.C. § 1108(b)(2). However, “an ERISA plaintiff need not plead the absence

of exemptions to prohibited transactions. It is the defendant who bears the burden

of proving a section 408 exemption. . . .” Allen v. GreatBanc Trust Co., 835 F. 3d

670, 676 (7th Cir. 2016) (citations omitted).

        480. As set forth below, Defendants violated each of the above prohibited

transaction rules.

        481. At all relevant times during the Class Period, Defendants each acquired

valuable consideration as a result of the investment options recommended, selected,

and retained in the Plan and as a result of the revenue sharing agreements among

them.

        482. Among this consideration was rebates of Plan expenses which belonged

to Plan participants, as well as portions of participant contributions they individually

retained for their own benefit.

        483. In doing so, Defendants dealt with the assets of the Plan in their own

interest and/or for their own account in violation of ERISA § 406(b)(1), 29 U.S.C. §


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1106(b)(1).

      484. In doing so, Defendants also acted adverse to the interests of the Plan

and Plan participants in violation of ERISA § 406(b)(2), 29 U.S.C. § 1106(b)(2).

      485. And in doing so, Defendants each received consideration for their

personal account from a party dealing with the Plan, in a transaction involving the

assets of the Plan, in violation of ERISA § 406(b)(3), 29 U.S.C. § 1106(b)(3).

      486. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants, as

fiduciaries to the Plan, are liable to restore to the Plan all losses caused by their

violations of ERISA §§ 406(b).

                                COUNT VII
                    Breach of Fiduciary Duty by Omission
(against Rollins, the Administrative Committee and Its Individual Members)

      487. Plaintiffs restate and incorporate in Count VII the allegations in alleged

in paragraphs 1 through 390 above.

      488. As fiduciaries of the Plan with the powers to bring actions on behalf of

the Plan, Defendants had the ability to bring actions on behalf of the Plan pursuant

to ERISA § 502(a)(2) and ERISA § 502(a)(3) at all relevant times during the Class

Period.

      489. Among the assets of an employee benefit plan under ERISA is a “chose

in action” – the right to bring an action to recover a debt, money or a thing –

including to institute a lawsuit for a breach of fiduciary duties or other violations.


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ERISA fiduciaries are prohibited from engaging in transactions under ERISA §

406(a) or 406(b) unless there is an exception or exemption, and a claim can be

brought on behalf of the Plan against an ERISA fiduciary who engages in such

prohibited transactions.

      490. As a result, one of the assets of the Plan was a claim against Defendants

for engaging in prohibited transactions for their own benefit as set forth in this

Amended Complaint.

      491. By virtue of the power pursuant to the Plan, Defendants had the

authority to institute a claim against Defendants for engaging in prohibited

transactions for their own benefit as set forth in this Amended Complaint.

      492. Each of them either knew (because they were parties to the transaction)

or through a proper review would have discovered that Defendants engaged in

prohibited transactions in violation of ERISA as set forth in this Amended

Complaint, because each of them had knowledge of the terms of these self-dealing

transactions, or through a prudent and loyal investigation in their role as Plan

fiduciaries would have discovered them.

      493. Defendants did not take any action, including any legal action, or

exercised any other authority under the Plan or the Trust Agreement, to properly

manage this choice in action.

      494. By failing to remedy these prohibited transactions on behalf of the Plan,


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including by, if necessary, bringing suit against Defendants through the present,

Defendants violated ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A).

      495. Because their fiduciary duties included employment of legal advisors,

Defendants failed to comply with ERISA § 404(a)(1) in the administration of their

specific responsibilities as fiduciaries, and this failure enabled the other Defendants

to violate ERISA in their acquisition of unreasonable fees and Plan assets.

      496. As a direct and proximate result of these breaches by Defendants, the

Plan suffered losses and/or Defendants obtained profits that rightfully belong to the

Plan and its participants.

      497. As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan and Plan participants suffered over $50 million in losses.

      498. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Defendants are liable

to restore to the Plan all losses caused by their failure to adequately monitor the

Committee Defendants.

      499. Plaintiffs are entitled to equitable relief under 29 U.S.C. § 1132(a)(3)

and other appropriate relief as set forth in their Prayer for Relief.

      500. ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for

another fiduciary of the same plan’s breach: (A) if he participates knowingly in, or

knowingly undertakes to conceal, an act or omission of such other fiduciary,

knowing such an act or omission is a breach; (B) if he has enabled such other


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fiduciary to commit a breach; or (C) if he has knowledge of a breach by such other

fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.

      501. Defendants knowingly participated in each breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit breaches by failing to lawfully discharge such Defendant’s own duties, and

knew of the breaches by the other Defendants and failed to make any reasonable and

timely effort under the circumstances to remedy the breaches. Accordingly, each

Defendant is also liable for the breaches of its co-fiduciaries under 29 U.S.C. §

1105(a).

                      VII. ENTITLEMENT TO RELIEF

      502. By virtue of the violations set forth in the foregoing paragraphs,

Plaintiffs and the Class are entitled to sue each of the Defendants pursuant to ERISA

§ 502(a)(2), 29 U.S.C. § 1132(a)(2), for relief on behalf of the Plan as provided in

ERISA § 409, 29 U.S.C. § 1109, including for recovery of any losses to the Plan, the

recovery of any profits resulting from the breaches of fiduciary duty, and such other

equitable or remedial relief as the Court may deem appropriate.

      503. By virtue of the violations set forth in the foregoing paragraphs,

Plaintiffs and the Class are entitled pursuant to ERISA § 502(a)(3), 29 U.S.C. §

1132(a)(3), to sue each of the Defendants for any appropriate equitable relief to


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redress the wrongs described above.

                           VIII. PRAYER FOR RELIEF

      Wherefore Plaintiffs, on behalf of themselves and the Class, pray that

judgment be entered against Defendants on all claims, and request that the Court

order or award the following relief:

      A. Certify this action as a class action pursuant to Fed. R. Civ. P. 23, appoint

the Plaintiff as class representative, and appoint Paul J. Sharman, Esq. of The

Sharman Law Firm LLC as Class Counsel;

      B. Declare any transaction that constitutes a prohibited transaction void and

(1) require each fiduciary and party-in-interest engaging in these transactions) to

disgorge any profits made as a result of such transaction; (2) declare a constructive

trust over the proceeds of any such transaction; or (3) order any other appropriate

equitable relief, whatever is in the best interest of the Plan.

      C. Require that the proceeds of any recovery for the Plan be allocated to the

accounts of participants in the Plan, other than the Defendants and other individuals

excluded from the Class.

      D. Order the removal of the members of the Administrative Committee from

their positions as fiduciaries of the Plan and enjoin them from acting as fiduciaries

for any employee benefit plan that covers or includes any Rollins employees or any

members of the Class.


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       E. Appoint an Independent Fiduciary to manage the Plan to be paid for by

Defendants.

       F. Order that any amount to be paid to the Plan and/or accounts of Plaintiffs

and Class members can be satisfied by using or transferring any breaching

fiduciary’s account (or the proceeds of that account) to the extent of that fiduciary’s

liability.

       G. Require Defendants to pay attorneys’ fees and the costs of this action

pursuant to ERISA § 502(g)(1), 29 U.S.C. § 1132(g)(1), or order the payment of

reasonable fees and expenses to Plaintiffs’ counsel on the basis of the common

benefit or common fund doctrine (or other applicable law) out of any money or

benefit recovered for the Class in this action.

       H. Award pre-judgment and post-judgment interest.

       I. Award any other such relief the Court determines Plaintiffs and the Class

are entitled to pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a).

Respectfully submitted this 18th day of April, 2022.
                                        /s/ Paul J. Sharman
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